                                                                  EXHIBIT D
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                                     Expert Report of John Fenn

                                              January 14, 2022

                                                  Presented in:

                                  Anna K. Nupson v.
                       Schnader Harrison Segal & Lewis LLP, et al.

                                   CASE NO. 2:18-cv-02505-NIQA

                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA




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        I.        Report Overview
        I.A       Purpose of Analysis

             1.    I have been retained by Dilworth Paxson LLP (“Counsel”) in connection with a dispute
                   between Anna K. Nupson (“Ms. Nupson” or the “Plaintiff”) and Schnader Harrison Segal
                   & Lewis LLP and Bruce Rosenfield (collectively, the “Defendants”).

             2.    This report concerns claims made by the Plaintiff in litigation titled Anna K. Nupson v.
                   Schnader Harrison Segal Lewis LLP, et al., Case No. 2:18-cv-02505-NIQA, pending in the
                   United States District Court for the Eastern District of Pennsylvania. This report contains
                   my expert opinions regarding the claims made by the Plaintiff.

             3.    As outlined in a third amended complaint dated August 26, 2020 (the “Complaint”), I
                   understand that Plaintiff alleges that Defendants engaged in legal malpractice, breach of
                   contract, breach of fiduciary duty, negligent misrepresentation, and constructive fraud that
                   resulted in Plaintiff selling her interest in a family-owned corporation at a value significantly
                   below the actual value of those shares. Plaintiff’s 1994 self-settled trust held Plaintiff’s 38
                   voting Class A shares and 70,963 non-voting Class B shares of Bradford Holdings, Inc.
                   (“Bradford”, “BHI”, or the “Company”), which were sold for approximately $275 per share,
                   or approximately $19.5 million in aggregate. Plaintiff was also a beneficiary of Frances S.
                   Middleton’s February 1, 2001 Grantor Retained Annuity Trust (the “GRAT”) which gave
                   Plaintiff beneficial ownership of one-third of the GRAT’s 258,029 Class B shares of
                   Bradford. Based on representations of Counsel and deposition testimony, the purchase
                   price for Plaintiff’s shares was based, at least in part, on a report issued on September
                   17, 2002, prepared by Fleet M&A Advisors (“Fleet”), that provided an opinion of the Fair
                   Market Value of certain minority interest non-voting and voting shares of Bradford, as of
                   February 1, 2001 (the “Fleet Report”).

             4.    Counsel has requested that I (1) review and critique the valuations performed on Bradford
                   Holdings prior to the Plaintiff’s redemption transaction with Bradford, specifically the report
                   prepared by Fleet issued September 17, 2002; (2) review the Expert Report of Jeffrey M.
                   Risius CPA/ABV, CFA, ASA dated December 13, 2021 (the “Stout Report” or “Stout”)
                   which was issued related to this litigation; (3) form a reasonable Fair Market Value for the
                   Class A and Class B shares of Bradford redeemed by the Plaintiff as part of the redemption
                   transaction; and (4) review the damages calculations and conclusions.

             5.    The purpose of this preliminary report is to summarize my findings to date pertaining to
                   the review of the Valuation of Minority Interests of Common Stock of Bradford Holdings,
                   Inc. as of February 1, 2001 prepared by Fleet M&A Advisors (the “Fleet Report”) dated
                   September 17, 2002. The Fleet Report provides the basis for the purchase of those
                   Minority Interests by Bradford Holdings from the Plaintiff and her sister in early 2003.
                   During our review, I found the assumptions and methodologies used to conclude the value
                   of Bradford Holdings, Inc. were within a reasonable range. In this review of the report,
                   and based on the documents I have reviewed, I am expressing my opinions based on a
                   reasonable degree of professional certainty.

             6.    Overall, as described in more detail herein, it is my opinion that the conclusions reached
                   in the Fleet Report are based on supportable assumptions that result in reasonable



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                conclusions. The Fleet Report’s concluded value relies on a prior transaction of the
                Company’s stock which is in line with the definition of Fair Market Value.

          7.    Based thereon, I recreated the analysis presented in the Fleet Report and adjusted several
                assumptions and inputs in the Fleet Report to determine the Fair Market Value of
                Bradford’s voting Class A shares and non-voting Class B shares, as of February 28, 2003.
                These corrections included, but were not limited to: i) adjusting the market multiples
                applied to two of Bradford’s subsidiaries to a lower level; ii) removing a minority-interest
                discount that was inappropriately applied to Bradford’s subsidiaries; and iii) adjusting a
                high discount for lack of marketability (“DLOM”) to a more appropriate level.

          8.    Based on my analysis, as described herein, I conclude that:

          9.    The lower bound of the Fair Market Value of a voting Class A share and a non-voting
                Class B share of Bradford, as of February 28, 2003, was $258 per share and $246 per
                share, respectively.

          10. The upper bound of the Fair Market Value of a voting Class A share and a non-voting
              Class B share of Bradford, as of February 28, 2003, was $415 per share and $395 per
              share, respectively.

          11. The lower bound to the economic damages should be $0 as the price paid to the Plaintiff
              was reasonable.

          12. The upper bound to economic damages should be based on my calculated share prices
              of $415 per Class A share and $395 per Class B share. Under this model, damages
              flowing from the 1994 Trust would include $1.2 million, and an additional net principal
              shortfall of $6.6 million. Plaintiff may have been able to access an additional $5.5 million
              if she persuaded the trustees to distribute the additional funds. There is no evidence that
              I have seen that the trustees would have distributed additional funds. Damages flowing
              from the 2001 Sub Trust would be $7.9 million. Plaintiff may have been able to access an
              additional $1.5 million if she persuaded the trustees to distribute the additional funds. I
              have calculated the total damages and principal shortfall, at the high end of my valuation
              range, to be approximately $22.7 million. The Plaintiff’s expert calculated damages that
              range from $168.3 million to $886.6 million under two different scenarios.

          13. A detailed list of the sources of information I considered is presented in Appendix B.

          14. Hilco Enterprise Valuation Services, LLC (“Hilco”) is compensated at a rate of $750 per
              hour for time incurred by me. Other individuals from Hilco also provided assistance in this
              matter; their hourly rates range from $275 per hour to $425 per hour. My compensation is
              not dependent on my opinion or the outcome of this case.

          15. While the terms “we” and “our” may be used throughout this report, any other Hilco
              representatives involved in this matter worked under my direction and control with respect
              to assisting in the research, analysis development, and report preparation for this
              engagement.

          16. To the extent necessary, I reserve the right to amend or supplement this report as
              additional information is provided.



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        I.B   Background & Qualifications

          17. I have deep experience and a long history in the field of valuation and fundamental
              corporate financial analysis. My advisory experience covers a broad range of financial
              topics and a wide range of industries. In my career, I have structured lending and
              acquisitions transactions, advised professional investors (both traders and professional
              money managers), and acted as a Principal on behalf of Institutional Investors. The
              majority of these assignments involved evaluation of the underlying financial condition and
              valuation of corporate entities. As a valuation specialist, I have performed valuations for
              Financial Reporting and Investor Reporting, provided Fairness Opinions and Solvency
              Opinions as well as analytical support in matters related to such opinions, and acted as
              an advisor to certain investors on valuation related matters including principal investments.

          18. I am currently a Senior Managing Director for Hilco Valuation Services LLC and lead
              Hilco’s Enterprise Valuation Services business. In my capacity at Hilco, I lead a team that
              performs dozens of business valuations each year. I joined Hilco in June 2020. Prior to
              Hilco, I spent more than four years with Berkeley Research Group (“BRG”) and almost two
              years with KPMG LLP (“KPMG”). During those six years, I performed and oversaw
              hundreds of business valuations. I am extremely familiar with proper business valuation
              techniques.

          19. Prior to moving into business valuation for financial reporting purposes as well as litigation,
              I spent more than 20 years in the debt capital markets representing a variety of investment
              management firms and broker-dealers. During that time, I analyzed thousands of
              companies through a variety of corporate development time periods. I am very familiar
              with the analysis of both mature and start-up companies. While my familiarity with
              company analysis is largely as a generalist, I have reviewed hundreds of industrial
              companies and am comfortable reviewing diversified companies in a variety of consumer
              segments.

          20. I received a Bachelor of Arts degree in Mathematics with Honors from Lehman College of
              the City University of New York. I also received a Master of Business Administration with
              a concentration in Finance from the Wharton Business School of the University of
              Pennsylvania.

          21. With the aforementioned education, training, and experience I am well established to offer
              opinions regarding the disputes identified in this matter.

          22. I have been retained as a valuation expert previously, and given deposition testimony, in
              the following matters:

                Jade-Sterling Steel Co., Inc., et al. vs. Taft Stettinius & Hollister, et al., Case No. CV-19-
                925878 in the Court of Common Pleas General Division Cuyahoga County, Ohio, March
                31, 2021.




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        II. Valuation Principles and Concepts
        II.A Standards of Value

          23. In valuing a business, business interest, or business asset, often the same object
              carries different values if viewed from different viewpoints. Furthermore, the same
              object may also have a different value from the same viewpoint at different points in
              time (even without accounting for the interest-generating ability or the earning power
              of the object at hand). The standard of value applied to this appraisal is Fair Market
              Value.

          24. Fair Market Value (FMV)
              The term Fair Market Value (“FMV”) was first officially defined by Revenue Ruling 59–
              60, .02 section 20.2031–1(b) of the Estate Tax Regulations (section 81.10 of the
              Estate Tax Regulation 105) and section 25.2512–1 of the Gift Tax Regulations
              (section 86.19 of the Gift Tax Regulations 108). The common definition from these
              sources is:

          25. The price at which the property would change hands between a willing buyer and a
              willing seller when the former is not under any compulsion to buy and the latter is not
              under any compulsion to sell, both parties having reasonable knowledge of relevant
              facts. In addition, court decisions frequently state that the hypothetical buyer and
              seller are assumed to be able as well as willing to trade and remain well informed
              about the property and the market for such property.

          26. The definition of FMV by Raymond C. Miles, Executive Director of the Institute of
              Business Valuation Analysts, Inc. found in Basic Business Appraisal states that:

          27. Fair Market Value is the price, in cash or equivalent, that a buyer could reasonably
              be expected to pay and a seller could reasonably be expected to accept, if the
              property were exposed for sale on the open market for a reasonable period of time
              with buyer and seller being in possession of the pertinent facts, and neither being
              under any compulsion to act.

          28. Recently, several valuation organizations—including the American Institute of
              Certified Public Accountants (“AICPA”), American Society of Valuation Analysts
              (“ASA”), The Institute of Business Valuation Analysts (“IBA”), and the National
              Association of Certified Valuation Analysts (“NACVA”)—came together and reached
              an agreement on the following definition of FMV:

          29. The price, expressed in terms of cash equivalents, at which property would change
              hands between a hypothetical willing and able buyer and a hypothetical willing and
              able seller, acting at arm’s length in an open and unrestricted market, when neither is
              under compulsion to buy or sell and when both have reasonable knowledge of the
              relevant facts.

          30. These definitions are all accepted and used interchangeably in the valuation
              profession. Viewpoints, demand, supply, circumstances, and intent of the parties may
              affect which standard of value is applicable.




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        II.B Overview of Valuation Approaches

          31. For valuing businesses and assets, there are three generally accepted valuation
              approaches: market approach, income approach, and cost approach.

          32. Market Approach: This approach involves the collection of market data meaningful
              to the subject assets being appraised. The primary intent of the market approach is
              to estimate the value of the assets based on recent sales or offerings of similar assets.
              Because the comparable assets sold are not exactly the same as the asset being
              appraised, adjustments must be made to the sale price to reflect the differences.

          33. Income Approach: This approach considers value in relation to the present worth of
              future benefits expected to be derived from ownership and is often measured through
              the capitalization of a specific level of income.

          34. Cost Approach: This approach is based on the premise that the informed purchaser
              would pay no more for an asset than the cost of producing a substitute property with
              the same utility as the subject property. It considers that the maximum value of a
              property to a knowledgeable buyer would be the amount currently required to
              construct or purchase a new asset of equal utility. The cost approach is sometimes
              used when future benefits associated with the ownership of an individual asset are
              difficult or impossible to quantify.

        II.C Selection of Methods

          35. I used the Income and Market Approach for the underlying analysis of the Company,
              including my critique of both Fleet and Stout. There are several methods to consider
              within each approach. Below is a description of the methods used for my analysis.

          36. Market Approach: Guideline Publicly Traded Company Method (“GPC Method):
              The Guideline Publicly Traded Company (“Guideline Company”) Method follows the
              premise that the value of a business ownership interest should be based on what
              astute and rational capital market investors would pay to own that interest. Capital
              market ratios of guideline publicly traded companies are used to estimate the value
              of the subject interest.

          37. Market Approach: Guideline Merged or Acquired Company Method (“GMAC
              Method”): The Guideline Merged or Acquired Company (“Guideline Transaction”)
              Method considers the market value of business enterprises similar to the subject
              company, as observed in (1) the acquisition price of either public or private
              companies, or (2) the trading price of publicly traded companies. Market pricing
              multiples are derived from the indicated market value relative to various financial
              metrics for those companies. The guideline company market pricing multiples are
              applied to the appropriate level of the subject company's financial metrics after being
              adjusted for the subject company’s investment risk profile relative to those of the
              guideline companies.

          38. Income Approach: Discounted Cash Flow Method (“DCF Method”): The
              discounted cash flow (“DCF”) method is used to estimate value using the concepts of
              the time value of money. All future cash flows are estimated and discounted to give
              their present values - the sum of all future cash flows, both incoming and outgoing, is
              the net present value, which is taken as the value or price of the cash flows in

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                question. In addition to estimating the present value of future economic cash flow for
                a discrete period, the residual - or terminal - value of the business enterprise is
                estimated as of the end of the discrete projection period. This terminal value is
                discounted to estimate its present value as well.




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        III. Fleet Report Review
        III.A Overview

             39. Bradford is a conglomerate and, as such, Fleet valued the subsidiaries John
                 Middleton, Inc. (“Middleton”), McIntosh Inns (“McIntosh”), and Double Play, Inc.
                 (“Double Play”) separately as part of a sum-of-the-parts analysis.

        III.B Middleton Valuation

             40. Fleet used the guideline public company method and the discounted cash flow
                 method to calculate the value of Middleton on a marketable, minority-interest basis.

        III.B.1 DCF Method

             41. In the DCF method, Fleet used management-provided projections to calculate the
                 projected cash flows. Fleet discounted these cash flows using a 19% weighted
                 average cost of capital (“WACC”).1 The use of management-provided projections is
                 appropriate, but the 19% WACC seems understated. In calculating the WACC, Fleet
                 did not give enough consideration for the risk of litigation in the tobacco industry in
                 my opinion. While large industry players such as R.J. Reynolds or US Tobacco have
                 the resources to fight any and all lawsuits, a smaller player such as Middleton does
                 not have the requisite resources to continuously battle lawsuits. Additionally,
                 significant legislative risk existed at the time of the valuation in the forms of potential
                 product regulation and tax regulation which, if enacted, could have significantly
                 decreased Company profitability. According to Middleton management, the figures
                 provided in the projections did not include any of the potential negative effects which
                 could be caused by legislative reform or litigation. Given the unique legislative and
                 litigation risks Middleton was exposed to at the time of the Fleet valuation, I believe
                 the WACC should be higher, thus lowering the value of the firm.

             42. Fleet uses the wrong discount factor in calculating the terminal value in its DCF
                 model.2 The terminal year present value factor should be equal to the present value
                 factor used in the final year of the discrete period. Fleet calculates the present value
                 factor for the terminal period at the end of the year compared to the mid-year
                 discounting in the discrete period. The different timing convention undervalues
                 Middleton because the terminal year cash flows are being discounted at a period later
                 than they actually should.

             43. Fleet arrives at a DCF enterprise value of $402.2 million before adding cash of $23.5
                 million to arrive at an equity value of $425.7 million.3 After correcting the terminal
                 value, Fleet would have arrived at an enterprise value of $419.8 million and an equity
                 value of $443.3 million. However, I believe that Fleet’s DCF Method ultimately
                 overestimated Middleton by using a WACC that does not fully capture the risks the
                 Company was facing at the time of the valuation.




        1   Fleet Report, page 9 & exhibit 10
        2 Fleet Report, exhibit 9
        3 Fleet Report, exhibit 9



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        III.B.2 GPC Method

            44. In the GPC Method, Fleet reviewed and selected public companies similar to
                Middleton. In my review of the report, I agree with the selections of Fleet’s guideline
                public companies. Fleet selected multiples based on total capitalization to latest
                twelve months (“LTM”) EBITDA, total capitalization to LTM EBIT, price to LTM
                earnings, and price to forecasted earnings to determine the value of Middleton. Fleet
                selected multiples from UST, Inc. and Swedish Match AB, two guideline companies
                that most aligned with Middleton’s financials. Fleet then selected the median of the
                four indicated values and applied a size discount to determine the value of Middleton.4

            45. Fleet should have selected the minimum or lower multiples instead of the median of
                the two companies. This is due to the litigation risk facing Middleton that does not
                impact as severely the larger industry participants. As Middleton faces more risk, its
                value should receive a lower multiple than what is currently given. This would
                decrease the value of the firm.

            46. Fleet chose the median of the public multiples which effectively selected for the capital
                to EBITDA and capital to EBIT multiples. I agree that the EBITDA and EBIT multiples
                are the better of the four comparables for Middleton.

            47. Fleet then applied a 32% size discount to arrive at an equity value of $291.4 million.5
                Typically, the size discount for a smaller company relative to the comp set is done by
                using lower end multiples rather than being explicitly applied. In addition, the specialist
                might also identify smaller companies in the comp set as being more applicable. I do
                not agree that a size discount is appropriate for Middleton, nor do I agree with the
                rationale used to develop and apply the size discount. For one, different valuation
                methods for a company should produce relatively similar results, and Fleet’s DCF
                method and GPC Method produce significantly different values. By removing the size
                discount, Fleet would have calculated a GPC equity value of $428.5 million and a
                DCF equity value of $443.3 million, a difference more in line with the expectations of
                a valuation professional. I believe Fleet should have removed the size discount and
                used lower end multiples to account for the significant risks Middleton was facing. If
                Fleet had used lower end multiples for the GPC Method and a higher WACC for the
                DCF method, the two methods would have come to similar results.

        III.B.3 GMAC Method

            48. Fleet conducted a search for data on acquisitions of companies but did not use the
                GMAC Method to arrive at a value conclusion because “the minority interests
                represented by the shares lack the power to cause the sale or merger of Bradford or
                any Bradford subsidiary, including Middleton.” 6 I disagree that the GMAC Method
                should be excluded from the valuation analysis on the basis of this logic. The GMAC
                Method is a commonly accepted valuation method utilized in valuations of all manner
                of companies with varying ownership structures. By dismissing the GMAC Method,
                Fleet does not take the opportunity to highlight an actual transaction in Bradford
                shares which is an important component of its conclusion.



        4 Fleet Report, page 6
        5 Fleet Report, page 6
        6 Fleet Report, page 8



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        III.B.4 Conclusion

            49. Overall, in my professional judgement, Fleet overvalues Middleton because it does
                not account for the legislative and litigation risks when calculating the WACC in the
                DCF method and when selecting multiples in the GPC Method. By selecting a higher
                WACC and lower GPC Method multiples, the value would have been more in line with
                the risk associated with Middleton at the time of the valuation.

        III.C McIntosh Valuation

            50. Fleet used the GPC Method to calculate the value of McIntosh.7 In my review of the
                report, I agree with the guideline companies Fleet selected for the analysis. Of these
                guideline companies, Fleet used multiples from ShoLodge and Candlewood, as the
                other two companies, AmeriHost and Hudson, had considerable portions of revenue
                not related directly to operating company-owned hotels. While it’s difficult to
                determine exactly what portion of the comparable companies’ revenue and profits
                were related directly to hotel ownership, I agree that Fleet makes educated and
                reasonable assumptions in choosing its comparable companies. Fleet compared
                three multiples: total capitalization to LTM EBITDA, total capitalization to LTM EBIT,
                and total capitalization to LTM revenue. Fleet only placed value on the revenue
                multiple as the guideline companies had significantly different levels of depreciation
                and amortization than McIntosh. I agree that the multiple chosen falls within a
                reasonable range. The Fleet Report reaches an equity conclusion of $46.0 million on
                a marketable, minority-interest basis even though Bradford is the controlling owner of
                McIntosh. 8

        III.D Double Play Valuation

            51. Double Play owns a 35.75% stake in the Phillies. Fleet used the Arthur Anderson
                appraisal9 and the Ernst & Young report10 of the Phillies to determine the value of
                Double Play’s stake. Arthur Anderson valued the net enterprise value of the Phillies
                at $157 million as of October 31, 1999. Between the valuation date of the Arthur
                Anderson appraisal and the valuation date of the Fleet appraisal, Double Play
                participated in a $50 million capital infusion into the Phillies on April 10, 2000 at a
                price consistent with the price paid by other investors in the infusion. In the March 28,
                2002 report, Ernst & Young stated, with the exception of adjusting for the $50 million
                capital infusion, it is reasonable to conclude that the Fair Market Value of partners’
                equity of the Phillies in the Anderson Appraisal had not changed significantly between
                October 31, 1999 and January 31, 2001. Fleet therefore concluded that the value of
                the Phillies was $207 million. Fleet calculated Double Play’s 35.75% stake to be $74
                million before applying a 25% minority discount to arrive at a value of $55.5 million. 11

            52. Instead of relying on the Ernst & Young update to the Arthur Anderson Valuation from
                1999, I would have relied on the subsequent transaction of a 9.1973% stake in the
                Phillies as described below in paragraph 54.


        7 Fleet Report, page 12
        8 Fleet Report, page 13
        9 BHI065661_image
        10 BHI065638_image
        11 Fleet Report, page 14



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             53. Fleet argues that the $207 million valuation of the Phillies was on a controlling, liquid
                 interest basis. The Fleet Report applies a 25% minority interest discount to arrive at
                 the $55.5 million valuation of Double Play. Fleet argues that a minority interest is
                 necessary because the Eighth Amended and Restated Agreement of Limited
                 Partnership of the Phillies (the “Partnership Agreement”) only allows for limited
                 opportunities for limited partners to obtain liquidity. 12 The partnership agreement
                 allows limited partners to sell shares to outside parties (outside parties exclude
                 immediate family or an entity controlled by immediate family, and partners, principles,
                 or related principles, current or in the last twelve months or entities controlled by
                 partners, principles, or related principles) at five year intervals (October 1999, October
                 2004, October 200913). I believe that a minority discount is not necessary because as
                 a member of the limited partnership, Double Play is aware of and understands the
                 time windows required to sell shares without the potential effect of a minority discount.
                 Additionally, the Fleet Report discounts the consolidated value of BHI using a discount
                 for lack of marketability of 45% which effectively discounts the value of Double Play
                 for the company’s inability to market its shares to outside parties.

             54. During the fiscal year ended January 31, 2001, Double Play purchased an additional
                 9.1973% stake in the Phillies for $19.1 million.14 Based on this purchase price, the
                 implied value of the Phillies would be $207.7 million. Double Play purchased the
                 additional stake as a minority interest from other limited partners (at an implied
                 valuation consistent with the April 10, 2000 capital infusion in which Double Play
                 participated), and according to the Partnership Agreement, share transfers between
                 limited partners are conducted pro-rata. Therefore, I believe the minority discount
                 should not have been applied. The value of Double Play without the discount should
                 be $74 million.

        III.E Conglomerate Discount

             55. Fleet includes a conglomerate discount of 20% in its analysis of BHI.15 The
                 conglomerate discount decreases Fleet’s calculation of the BHI equity value from
                 $451.1 to $360.9 million. 16

             56. Bradford qualifies as a conglomerate because it has distinct and unrelated lines of
                 revenue: tobacco products, economy lodging, and professional baseball. The
                 negative aspects of a conglomerate include an additional layer of management to
                 manage the unrelated lines of business and the potential for losses from unprofitable
                 businesses to dilute the profits of other businesses. As a result, conglomerates often
                 have valuations that are less than the sum of its parts. Fleet discounted the valuation
                 of Bradford by 20% to account for this factor. The leading paper on the conglomerate
                 discount is Diversification’s Effect on Firm Value by Berger and Ofek. The study
                 determined the conglomerate discount by calculating the stand-alone values for
                 individual business segments and comparing the sum of these stand-alone values to
                 the firm’s actual value. The study compared 3,659 multi-segment firms from the years
                 1986-1991.17 The study concluded that diversified firms are on average 12.7% to
                 15.2% lower than the sum of their imputed segment values. After eliminating the effect

        12 Fleet Report, page 14
        13 BHI065708_image
        14 Fleet Report, page 3 & BHI048335_image
        15 Fleet Report, page 15
        16 Fleet Report, page 19
        17   Diversification’s Effect on Firm Value, page 43

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                  of leverage, the value loss to equity holders ranged from 18.7% to 21.7%. A
                  conglomerate discount of 20% is therefore appropriate.

        III.F Discount for Lack of Marketability, Size Discount, & Minority Discount

             57. As the final step Fleet applied a 45% discount for lack of marketability to the voting
                 and non-voting shares. Fleet considered a variety of qualitative factors and
                 quantitative studies to determine the 45%. My view is that a 45% DLOM is high, thus
                 understating the value of the shares. An appropriate DLOM would have been closer
                 to 30% given a marketplace that would not likely have identified many potential
                 investors for a small private tobacco companies in 2003.

             58. Fleet applies a size discount in its GPC Method of 20% to calculate the value of
                 Middleton. I would have used lower multiples in the GPC Method instead of a size
                 discount which would have had a similar effect. As a result, the size discount used in
                 the Fleet report would not end up having a perceived compounding negative effect
                 on the valuation.

             59. As mentioned previously, I disagree with Fleet’s application of a 25% minority
                 discount to its valuation of Double Play since the shares were marketed on a minority
                 basis. This discount is unnecessary and effectively adds another discount on top of
                 the conglomerate discount.

        III.G Conclusion

             60. Fleet determined the freely-traded aggregate equity value of Bradford Holdings, Inc.
                 to be $360.1 million. To determine this value, Fleet added the values of Middleton,
                 McIntosh, Double Play, and other cash held by BHI, then applied a conglomerate
                 discount of 20%. The application of the conglomerate discount was on top of applying
                 a minority discount to Double Play and valuing McIntosh on a minority interest basis.18

             61. Fleet then applied a 5% voting premium to the Class A voting shares, thereby
                 adjusting up the Class A ownership to 0.148% of the Company and adjusting down
                 the Class B ownership to 99.852% of the Company. Fleet multiplied the $360.1 million
                 equity value by the ownership percentages to determine the freely-traded aggregate
                 equity value for each share class. Finally, Fleet applied a 45% discount for lack of
                 marketability to the equity values to determine the indicated value per share. Fleet
                 calculated the Class A share price at $292 per share and the Class B share price at
                 $278 per share. 19 As described above, I disagree with these values as they are a
                 product, in my professional opinion, of overstated subsidiaries and the application of
                 certain discounts – the discounts for lack of control and marketability.

             62. On February 1, 2001, two minority shareholders, Nancy F. Smith and Susan F.
                 Thorkelson (the “Cousins”), 20 redeemed their shares in the Company for a price of
                 $215 per Class A share and $205 per Class B share (the “2001 BHI Transactions”).
                 The purchase price was negotiated over several months stretching back to at least
                 June 2000. Among factors motivating shareholders to sell were (1) the desire to
                 diversify their assets; (2) estate planning; (3) an anticipated slowing in the Company’s


        18 Fleet Report, page 19
        19 Fleet Report, page 19
        20 Fleet Report, page 21



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                  growth rate after years of rapid growth; and, (4) increased levels of tobacco-related
                  litigation involving the Company and the in the industry. To the best of our knowledge,
                  neither shareholder was under any duress to sell. By January 2001, as put forth by
                  the Company and John Middleton, a countervailing factor arguing against selling was
                  an expected increase in dividends to shareholders subsequent to the Company’s
                  anticipated election of Subchapter S status on February 1, 2001. Negotiations
                  included a discussion of the risk that adverse tobacco-related litigation results might
                  inhibit the Company’s ability to increase or sustain dividends over time. 21

             63. The sellers considered a number of other factors in their decisions, including the
                 valuation report of Howard, Lawson & Co., LLC dated November 13, 2000, that
                 opined that the Fair Market Value of the shares was $215 per voting share and $205
                 per non-voting share as of April 19, 2000. The sellers also considered the Company’s
                 audited and unaudited financial statements as well as the market conditions and
                 industry outlooks for the Company’s subsidiaries. The sellers were provided an
                 opportunity to discuss BHI’s business, operations, and financial affairs with the
                 Company’s management and were supplied with all of the documents, records,
                 books, and other information pertaining to the Company and its operations that they
                 requested. 22

             64. None of the sellers were compelled to sell shares of the Company, and the Company
                 was not compelled to buy their shares. The sellers were both well informed about the
                 Company, and, through the advice of their spouses, were also qualified to make such
                 investment decisions. Both spouses were investment banking professionals with 15
                 to 20 years of experience in corporate finance and valuation techniques with major
                 Wall Street firms. Both held MBA degrees from elite business schools, Wharton
                 (University of Pennsylvania) and Kellogg (Northwestern University). 23

             65. Considering the above factors, the transactions constituted arm’s length transactions
                 between Bradford and the sellers. Fleet concluded that these transactions
                 represented the best indication of the Fair Market Value of minority interests in
                 BHI’s common stock. Therefore, Fleet concluded the Fair Market Value was $215
                 per Class A share and $205 per Class B share as of Fleet’s February 1, 2001
                 valuation date.24

             66. It is reasonable to conclude a share price of $215 and $205 because a transaction of
                 the Company stock is the most appropriate method to determine the Fair Market
                 Value of the Company. As stated in Section II.A, Fair Market Value is defined as:

                  “the price at which the property would change hands between a willing buyer and a
                  willing seller when the former is not under any compulsion to buy and the latter is not
                  under any compulsion to sell, both parties having reasonable knowledge of relevant
                  facts.”




        21 Fleet Report, page 20
        22 Fleet Report, page 20
        23 Fleet Report, page 21
        24 Fleet Report, page 22



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        IV.        Stout Report Review
        IV.A Overview

             67. Stout valued the Company as of February 28, 2003 using the market approach.

        IV.B Lack of GMAC Method

             68. The Stout analysis effectively misses the forest for the trees in its approach to the
                 valuation performed by Fleet. The Stout Report in its overview goes into the history
                 of the Fleet analysis and its predecessor Howard, Lawson & Company (“Howard
                 Lawson”). The April 19, 2000 Howard Lawson report was used to help value an actual
                 transaction between BHI and its shareholders for the purpose of a redemption. The
                 two shareholders were family members. The purchase is referred to as the “2001 BHI
                 Transactions”

             69. The significance of the 2001 BHI Transactions is that they represent two true market-
                 based sales supported by the Howard Lawson report. The 2001 BHI Transactions
                 were at arms-length and established a benchmark for future transactions. The sellers
                 were not compelled to sell and were provided with sufficient information to make an
                 informed decision. Under most definitions, this is the fact pattern that embodies fair
                 value or Fair Market Value.

             70. The Fleet Report performed a year later, as part of the analysis of the shares on
                 behalf of the GRAT, ultimately concluded the Fair Market Value of the shares to be
                 the same as it was in the 2001 BHI Transactions. The Fleet Report goes through a
                 standard theoretical valuation approach to the equity value of BHI yet, in its
                 professional opinion, concluded the prior transaction in the shares represented Fair
                 Market Value.

             71. Stout seems to dismiss this conclusion out of hand. Instead, Stout concludes a
                 theoretical value is appropriate for pricing the Plaintiff’s redemption transaction
                 because a theoretical value was the basis for the 2001 BHI Transactions. This
                 conclusion brushes off the notion that the sellers could have rejected the Howard
                 Lawson price and chosen not to transact.

             72. Besides ignoring the 2001 BHI Transaction as an applicable basis for the valuation of
                 Bradford, Stout also overlooks the fact that, in December 2002, Lucia Middleton
                 Hughes (“Ms. Hughes” or the “Plaintiff’s Sister”) offered to sell her significant stake in
                 BHI back to the Company as part of the redemption negotiations at a price that was
                 consistent with the 2001 BHI Transactions.25 As such, she independently verified the
                 price paid in 2001 as a valid consideration for Fair Market Value since she was willing
                 to transact at the same price under no compulsion. Ms. Hughes was well represented
                 by Counsel and had sufficient facts to arrive at her offer to sell. Ultimately, she sold
                 at the same price received by the Plaintiff. Additionally, according to documents
                 reviewed, it seems that Ms. Hughes was adversarial to Mr. Middleton at this time
                 because of disagreements about the structure and handling of the GRAT.26 Given this



        25   2002-12-19 Lucia Buyout Proposal
        26   Undated Fran Notes

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                  acrimony, I do not believe that Ms. Hughes would have been willing to sell her shares
                  at a discount to the Company.

             73. Ultimately, I do not follow the Stout conclusion. The Fleet conclusion was reasonable
                 since it tied to an actual financial transaction. In the context of the Plaintiff’s
                 redemption, there are reasons to believe another participant (the Plaintiff’s Sister) was
                 willing to consider the price paid in the 2001 BHI Transactions to be market. I do not
                 think it is appropriate to simply dismiss the conclusion – especially since the Plaintiff’s
                 redemption was executed at a meaningfully higher price.

        IV.C Middleton Valuation

             74. In the GPC Method, Stout reviewed and selected public companies similar to
                 Middleton.27 In my review of the report, I agree with the selections of Stout’s guideline
                 public companies. Stout selected multiples based on enterprise value to LTM EBITDA
                 and enterprise value to LTM EBIT. Stout selected the lower quartile of the two
                 multiples to determine the indicated enterprise value of Middleton.

             75. I believe Stout should have selected lower multiples instead of the lower quartile of
                 the guideline companies. Stout did not account for risk of litigation in the tobacco
                 industry. While large industry players such as R.J. Reynolds or US Tobacco have the
                 resources to fight any and all lawsuits, a smaller player such as Middleton does not
                 have the requisite resources to continuously battle lawsuits. Additionally, significant
                 legislative risk existed at the time of the valuation in the forms of potential product
                 regulation and tax regulation which, if enacted, could have significantly decreased
                 Company profitability. As Middleton faces more risk than the typical publicly traded
                 tobacco company, its value should receive a lower multiple than what is currently
                 given. This would decrease the value of the company.

        IV.D McIntosh Valuation

             76. Stout used the GPC Method to calculate the value of McIntosh.28 In my review of the
                 report, I agree with the companies Stout selected for the analysis. Stout selected a
                 multiple based on enterprise value to LTM revenue. Stout selected the upper quartile
                 multiple to determine the indicated value of McIntosh.

             77. Stout should have selected a multiple materially below the median multiple rather than
                 the upper quartile. McIntosh is significantly smaller than any of the public comparable
                 companies, experienced negative growth over the 2001 and 2002 years and was
                 barely profitable. Additionally, based on interviews with BHI management, McIntosh
                 was clearly not a focus of management at the time of the valuation due to its small
                 footprint and minimal cashflows. McIntosh is not a company that would trade at
                 median GPC Method multiples. It would much more likely have traded at a low-end
                 multiple.

        IV.E Double Play Valuation

             78. Stout used the March 29, 2002 Forbes magazine valuation of the Phillies to determine
                 the indicated value of Double Play.29 Forbes determined the value to be $231 million,

        27 Stout Report, page 36
        28 Stout report, page 37
        29 Stout report, page 38



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                   up from the $207.7 million based on the 2001 Double Play transaction. I do not agree
                   with Stout’s reliance on the March 29, 2002 Forbes article to value the Phillies. In fact,
                   I find it troubling that Stout would rely on a magazine article rather than the standard
                   and recognized valuation approach of referencing a recent round of financing. Stout
                   should have used the minority transaction from January 31, 2001 to value the Phillies
                   because the transaction valuation represents an actual sale of the Company and is a
                   stronger indication of value than Forbes’ valuation. To my knowledge, there is no
                   substantiation of value in the Forbes article, and one would call into question the
                   article’s source of information in reaching its conclusion. By relying on the Forbes
                   magazine article to value the Phillies, Stout overstated the value of Double Play.

        IV.F Other Subsidiaries

             79. In addition to Middleton, McIntosh, and Double Play, Stout also includes other assets
                 and liabilities held by BHI’s other subsidiaries in its value.30 These subsidiaries are
                 largely responsible for inter-company transactions and the application of shared
                 services which is seen in many conglomerate structures as a method to appropriately
                 cost and allocate overhead. Other assets and liabilities amount to $116.7 million
                 which is largely driven by $109.4 million of cash held in Delfinco. Adding the additional
                 assets and liabilities to BHI’s value is incorrect because the cash balance of $109.4
                 million held in Delfinco does not reflect normal operations. The large cash balance
                 was held as part of a planning process to purchase shares and pay for other
                 obligations given the expiration of the GRAT. Because of these unusual
                 circumstances surrounding the large cash balance, Stout should have considered a
                 normalized cash balance in calculating the value of the Company.

        IV.G Discounts

        IV.G.1 Conglomerate Discount

             80. Stout should have included a conglomerate discount when calculating the value of
                 the Company. By electing not to include the conglomerate discount, Stout has failed
                 to consider the negative aspects affecting conglomerates such as added complexity
                 for investors to understand, additional layers of management, and the potential for
                 losses from one subsidiary to dilute the profits of another.

        IV.G.2 Discount for Lack of Marketability

             81. I agree that a 27% DLOM is reasonable for the Company.31 As discussed in Appendix
                 C, I have observed that the range for a DLOM is from 10% (difference in discounts
                 from registered private placements and unregistered placements) to 43% to 44%
                 (mean and median from the IPO studies). Current valuation theory uses the factors
                 from the Mandelbaum case and studies from Dr. Bajaj as the Industry standard for
                 application of DLOM. No source provides an exact marketability discount. The
                 determination is a matter of judgment; considering the analysis in Appendix C, I
                 believe that a marketability discount near 30% is reasonable.




        30   Stout report, page 39
        31   Stout Report, page 39

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        IV.H Conclusion

             82. Stout added the values of Middleton, McIntosh, Double Play, and the assets and
                 liabilities of BHI’s other subsidiaries to determine the freely-traded aggregate equity
                 value of Bradford Holdings, Inc., as of the valuation date, as $962.7 million.32
             83. Stout then applied a 5% voting premium to the Class A voting shares, thereby
                 adjusting up the Class A ownership to 0.148% of the Company and adjusting down
                 the Class B ownership to 99.852% of the Company.33 Stout multiplied the $962.7
                 million equity value by the ownership percentages to determine the freely-traded
                 aggregate equity value for each share class. Finally, Stout applied a 27% discount for
                 lack of marketability to the equity values to determine the indicated value per share.
                 Stout calculated the Class A share price at $1,240 per share and the Class B share
                 price at $1,181 per share.

             84. As discussed throughout Section IV, Stout’s values are not reasonable and are
                 overstating the value of the Company both in its theoretical conclusion and by ignoring
                 genuine market transactions in Bradford shares.




        32   Stout Report, page 39
        33   Stout Report, page 40

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        V.      BHI Valuation as of February 28, 2003
        V.A Overview

          85. I valued BHI as of February 28, 2003. I used the Guideline Public Company Method
              (“GPC Method”), the Guideline Merged or Acquired Method (“GMAC Method”), and
              the DCF Method to value the Company. I calculated a range of values for the Class
              A and Class B shares. I valued Middleton and McIntosh (the “Operating Assets”) using
              the Market Approach. I then valued the combined projections for Middleton and
              McIntosh using the Income approach. I weighted the Market Approach and the
              Income Approach of the Operating Assets equally to determine the Total Enterprise
              Value (“TEV”) of the Operating Assets. I then valued the Phillies (the “Non-operating
              assets”) using the market approach to determine the value of the Non-operating
              Assets. I then added the TEVs of the BHI Operating Assets and Non-operating Assets
              to determine the TEV of BHI.




               GPC Method -
                Middleton
                                  Market Approach
                                    Middleton
              GMAC Method -
                Middleton
                                                        Market Approach -
                                                         BHI Operating
                                                             Assets
               GPC Method -                                                    TEV - BHI
                 McIntosh                                                   Operating Assets
                                                        Income Approach -
                                  Market Approach
                                                           BHI Operating
                                     McIntosh
                                                               assets                                    TEV - BHI
               GMAC Method-
                 McIntosh
                                                        Market Approach -    TEV - BHI Non-
                                                             Phillies       operating Assets




        V.B Middleton Valuation – Market Approach

        V.B.1 GPC Method

          86. The guideline company method is used to estimate value based on an analysis of
              prices of the common stocks of guideline publicly traded companies (“Guideline
              Companies”) that operate in the same industry as Middleton.

          87. Applying this method, the first step was to identify publicly traded companies that were
              similar to Middleton in terms of business activity and financial status. All of the
              guideline companies that I selected had common stock that was traded on an
              organized stock market exchange. The guideline companies that I selected, utilizing
              Capital IQ, are listed in Exhibit 1a.

          88. The second step was to calculate various valuation multiples for each of the guideline
              comps. In my guideline company analysis, I used a total enterprise value (“TEV”)
              valuation approach. A TEV approach is commonly used in the valuation of closely

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                held companies to address capital structure differences between the subject company
                and the guideline comps. Accordingly, the financial fundamentals used in this analysis
                do not reflect the companies’ interest expense.

          89. A TEV valuation approach provides an indication of value that includes both net
              interest-bearing debt and equity. For purposes of this analysis, I calculate TEV as
              follows:

                         Market value of short-term interest-bearing debt, including capitalized leases
                        + Market value of long-term interest-bearing debt, including capitalized leases
                        + Market value of preferred stock outstanding
                        + Market value of common stock outstanding
                        - Cash & Cash Equivalents and Short-term Investments
                        = Total enterprise value

          90. I calculated the ratios of the TEV of each of the guideline comps to their respective
              revenue, EBIT, and EBITDA. Those ratios or valuation multiples, are referred to in
              this report as:

                    •   TEV/Revenue;
                    •   TEV/EBIT; and
                    •   TEV/EBITDA.

          91. A summary of my valuation multiple calculations for the guideline companies are
              provided in Exhibits 1a and 1b. As these exhibits reflect, I analyzed these valuation
              multiples on the basis of the LTM ended February 28, 2003.

          92. My calculation of the valuation multiples for each guideline company and the selection
              of the multiples to use in my analysis was performed as follows:

                    •   Make appropriate adjustments to the historical financial fundamentals of the
                        guideline companies;
                    •   Calculate the guideline companies’ LTM period valuation multiples for each of
                        the relevant financial fundamentals;
                    •   Identify the low, high, mean, and median of the guideline companies’ valuation
                        multiples;
                    •   Review and analyze the historical performances of the guideline companies
                        as compared to their respective valuation multiples and determine if positive
                        or negative correlations exist;
                    •   Compare the historical financial performance of the Company to the historical
                        financial performances of the guideline companies for guidance in selecting
                        appropriate valuation multiples; and
                    •   Select appropriate valuation multiples and apply them to the corresponding
                        financial fundamentals of the Company.

          93. My valuation multiple selection process primarily involved analyses of historical ratios,
              company size (in terms of revenue and earnings), historical growth rates, and
              historical profitability. These multiples were chosen by comparing each of the
              following to the Company’s respective financial metrics with the guideline companies
              and zeroing in on the most appropriate comparison multiple. Based on my analysis, I
              found the TEV/EBITDA and the TEV/EBIT as the only appropriate valuation multiples.


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             94. I used financial figures from the Bradford Holdings, Inc. & Subs U.S. income tax Filing
                 for the year ended December 31, 200234 and applied multiples of guideline companies
                 to the LTM period to arrive at a Fair Market Value of TEV.

             95. TEV/EBITDA: The guideline companies’ LTM EBITDA multiples ranged from 3.6x to
                 8.7x with a median of 6.0x and a mean of 6.2x. I applied an LTM EBITDA valuation
                 multiple of 2.7x which is lower than the minimum multiple found in the compset. I
                 applied a lower multiple to reflect the unique litigation and legislation risk that
                 Middleton faces and its smaller size in comparison the comparable companies.

             96. TEV/EBIT: The guideline companies’ LTM EBIT multiples ranged from 4.2x to 13.7x,
                 with a median of 7.9x and a mean of 8.3x. I selected and applied an LTM EBIT
                 valuation multiple of 3.1x. I applied a multiple lower than the minimum to reflect the
                 unique litigation and legislation risk the company faces and its smaller size in
                 comparison the comparable companies.

             97. Based on my guideline company valuation analysis, the FMV of the Enterprise Value
                 of Middleton, as of the valuation date, was:

                                                    $293.901 million.

             98. My guideline public company analysis is provided in Exhibits 1a and 1b.

        V.B.2 GMAC Method

             99. The transaction method is used to estimate value based on an analysis of the
                 transaction values of recently merged or acquired companies that operate in the same
                 industry as Middleton.

             100. Applying this method, the first step was to identify transactions of companies that
                  were similar to Middleton in terms of business activity and size. The target companies
                  selected in the comparable transactions are listed in Exhibit 2a. The most appropriate
                  transaction to analyze would be a transaction of the Company’s own stock. The 2001
                  BHI Transactions are the best indication of value for the Company; however, the 2001
                  BHI Transactions are only comparable to the consolidated companies of BHI and
                  therefore cannot be used as a direct comparable to Middleton. The 2001 BHI
                  Transactions will be used in my conclusion to determine a reasonable range of value
                  of BHI.

             101. The second step was to calculate various valuation multiples for each of the
                  comparable transactions. In my comparable transaction analysis, I used a TEV
                  approach.

             102. I calculated the ratios of the TEV of each of the guideline transactions to their
                  respective revenue, earnings before interest and taxes (“EBIT”), and earnings before
                  interest taxes depreciation and amortization (“EBITDA”). Those ratios or valuation
                  multiples, are referred to in this report as:

                      •   TEV/Revenue;
                      •   TEV/EBIT; and

        34   BHI050845_image

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                      •   TEV/EBITDA.

             103. Based on my analysis, I found the TEV/EBITDA and TEV/EBIT as the appropriate
                  valuation multiples.

             104. A summary of my valuation multiple calculations for the guideline transactions are
                  provided in Exhibits 2a and 2b. As these exhibits reflect, I analyzed these valuation
                  multiples on the basis of the companies’ metrics for the LTM period.

                  My calculation of the valuation multiples for each guideline transaction and my
                  selection of the multiples to use in the analysis were performed as follows:

                      •   Make appropriate adjustments to the historical financial fundamentals of the
                          guideline companies;
                      •   Calculate the guideline companies’ LTM period valuation multiples for each of
                          the relevant financial fundamentals;
                      •   Identify the low, high, mean, and median of the guideline companies’ valuation
                          multiples;
                      •   Review and analyze the historical performances of the guideline companies
                          as compared to their respective valuation multiples and determine if positive
                          or negative correlations exist;
                      •   Compare the historical financial performance of the Company to the historical
                          financial performances of the guideline companies for guidance in selecting
                          appropriate valuation multiples; and
                      •   Select appropriate valuation multiples and apply them to the corresponding
                          financial fundamentals of the Company.

             105. I used financial figures from the Bradford Holdings, Inc. & Subs U.S. Income Tax Filing
                  for the year ended December 31, 200235 and applied multiples of guideline
                  companies to the LTM period to arrive at a Fair Market Value of TEV. My valuation
                  multiple selection process primarily involved analyses of company size (in terms of
                  revenue and earnings) and profitability.

             106. TEV/EBITDA: The guideline companies’ LTM EBITDA multiples ranged from 0.5x to
                  9.4, with a median of 4.7x and a mean of 5.2x. Many of the transactions selected
                  represent acquisitions of companies which operate outside the United States and
                  would not be subject to the highly litigative environment in which Middleton operates.
                  As a result, multiples derived from the comp set are likely overstated in comparison
                  to how a U.S.-based tobacco products company would trade at the time the valuation.
                  Correspondingly, I selected and applied the lower quartile LTM EBITDA valuation
                  multiple of 1.9x.

             107. TEV/EBIT: The guideline companies’ LTM EBIT multiples ranged from 0.8x to 12.8x,
                  with a median of 6.9x and a mean of 6.8x. Many of the transactions selected represent
                  acquisitions of companies which operate outside the United States and would not be
                  subject to the highly litigative environment in which Middleton operates. As a result,
                  multiples derived from the comp set are likely overstated in comparison to how a
                  United States based tobacco products company would trade at the time the valuation.
                  Correspondingly, I selected and applied the lower quartile LTM EBIT valuation
                  multiple of 3.6x.

        35   BHI050845_image

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          108. Based on my transaction analysis, as described above, the FMV of the Enterprise
               Value of Middleton as of the valuation date, was:

                                                    $277.519 million.

          109. My transaction analysis is provided on Exhibits 2a and 2b.

        V.B.3 Conclusion

          110. I then equally weighted the two methods to determine the FMV of the Enterprise Value
               of Middleton as of the valuation date, was:

                                                    $285.710 million.

          111. My enterprise value analysis is provided in Exhibit 9a.

        V.C McIntosh Valuation – Market Approach

        V.C.1 GPC Method

          112. The guideline company method is used to estimate value based on an analysis of
               prices of the common stocks of guideline publicly traded companies (“guideline
               companies”) that operate in the same industry as McIntosh.

          113. Applying this method, the first step was to identify publicly traded companies that were
               similar to McIntosh in terms of business activity and financial status. All of the
               guideline companies that I selected had common stock that was traded on an
               organized stock market exchange. The guideline companies that I selected, utilizing
               Capital IQ, are listed in Exhibit 3a.

          114. The second step was to calculate various valuation multiples for each of the guideline
               comps. In my guideline company analysis, I used a total enterprise value (“TEV”)
               valuation approach. A TEV approach is commonly used in the valuation of closely
               held companies to address capital structure differences between the subject company
               and the guideline comps. Accordingly, the financial fundamentals used in this analysis
               do not reflect the companies’ interest expense.

          115. A TEV valuation approach provides an indication of value that includes both net
               interest-bearing debt and equity. For purposes of this analysis, I calculate TEV as
               follows:

                         Market value of short-term interest-bearing debt, including capitalized leases
                        + Market value of long-term interest-bearing debt, including capitalized leases
                        + Market value of preferred stock outstanding
                        + Market value of common stock outstanding
                        - Cash & Cash Equivalents and Short-term Investments
                        = Total enterprise value

          116. I calculated the ratios of the TEV of each of the guideline comps to their respective
               revenue, EBIT, and EBITDA. Those ratios or valuation multiples, are referred to in
               this report as:


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                      •   TEV/Revenue;
                      •   TEV/EBIT; and
                      •   TEV/EBITDA.

             117. A summary of my valuation multiple calculations for the guideline companies are
                  provided in Exhibits 3a and 3b. As these exhibits reflect, I analyzed these valuation
                  multiples on the basis of the LTM ended February 28, 2003.

             118. My calculation of the valuation multiples for each guideline company and the selection
                  of the multiples to use in its analysis was performed as follows:

                      •   Make appropriate adjustments to the historical financial fundamentals of the
                          guideline companies;
                      •   Calculate the guideline companies’ LTM period valuation multiples for each of
                          the relevant financial fundamentals;
                      •   Identify the low, high, mean, and median of the guideline companies’ valuation
                          multiples;
                      •   Review and analyze the historical performances of the guideline companies
                          as compared to their respective valuation multiples and determine if positive
                          or negative correlations exist;
                      •   Compare the historical financial performance of the Company to the historical
                          financial performances of the guideline companies for guidance in selecting
                          appropriate valuation multiples; and
                      •   Select appropriate valuation multiples and apply them to the corresponding
                          financial fundamentals of the Company.

             119. My valuation multiple selection process primarily involved analyses of historical ratios,
                  company size (in terms of revenue and earnings), historical growth rates, and
                  historical profitability. These multiples were chosen by comparing each of the
                  following to the Company’s respective financial metrics with the guideline companies
                  and zeroing in on the most appropriate comparison multiple. Based on my analysis, I
                  found the TEV/Revenue as the only appropriate valuation multiples.

             120. I used financial figures from the Bradford Holdings, Inc. & Subs U.S. Income Tax Filing
                  for the year ended December 31, 200236 and applied multiples of guideline
                  companies to the LTM period to arrive at a Fair Market Value of TEV.

             121. TEV/Revenue: The guideline companies’ LTM Revenue multiples ranged from 0.6x
                  to 3.7x with a median of 1.9x and a mean of 2.0x. I chose a multiple between the
                  lower quartile and the median to apply an LTM Revenue valuation multiple of 1.3x.

             122. Based on my guideline company valuation analysis, the FMV of the Enterprise Value
                  of McIntosh, as of the valuation date, was:

                                                     $29.538 million.

             123. My guideline public company analysis is provided on Exhibits 3a and 3b.




        36   BHI050845_image

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        V.C.2 GMAC Method

          124. The transaction method is used to estimate value based on an analysis of the
               transaction values of recently merged or acquired companies that operate in the same
               industry as the Company.

          125. Applying this method, the first step was to identify transactions of companies that
               were similar to McIntosh in terms of business activity and size. The target companies
               selected in the comparable transactions are listed in Exhibit 4a. The most appropriate
               transaction to analyze would be a transaction of the Company’s own stock. The 2001
               BHI Transactions are the best indication of value for the Company; however, the 2001
               BHI Transactions are only comparable to the consolidated companies of BHI and
               therefore cannot be used as a direct comparable to McIntosh. The 2001 BHI
               Transactions will be used in my conclusion to determine a reasonable range of value
               of BHI.

          126. The second step was to calculate various valuation multiples for each of the
               comparable transactions. In my comparable transaction analysis, I used a TEV
               approach.

          127. I calculated the ratios of the TEV of each of the guideline transactions to their
               respective revenue, earnings before interest and taxes (“EBIT”), and earnings before
               interest taxes depreciation and amortization (“EBITDA”). Those ratios or valuation
               multiples, are referred to in this report as:

                    •   TEV/Revenue;
                    •   TEV/EBIT; and
                    •   TEV/EBITDA.

          128. Based on my analysis, I found the TEV/EBITDA and TEV/EBIT as the appropriate
               valuation multiples.

          129. A summary of my valuation multiple calculations for the guideline transactions are
               provided in Exhibits 4a and 4b. As these exhibits reflect, I analyzed these valuation
               multiples on the basis of the companies’ metrics for the LTM period.

                My calculation of the valuation multiples for each guideline transaction and my
                selection of the multiples to use in the analysis were performed as follows:

                    •   Make appropriate adjustments to the historical financial fundamentals of the
                        guideline companies;
                    •   Calculate the guideline companies’ LTM period valuation multiples for each of
                        the relevant financial fundamentals;
                    •   Identify the low, high, mean, and median of the guideline companies’ valuation
                        multiples;
                    •   Review and analyze the historical performances of the guideline companies
                        as compared to their respective valuation multiples and determine if positive
                        or negative correlations exist;
                    •   Compare the historical financial performance of the Company to the historical
                        financial performances of the guideline companies for guidance in selecting
                        appropriate valuation multiples; and


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                      •   Select appropriate valuation multiples and apply them to the corresponding
                          financial fundamentals of the Company.

             130. I used financial figures from the Bradford Holdings, Inc. & Subs U.S. Income Tax Filing
                  for the year ended December 31, 200237 and applied multiples of guideline companies
                  to the LTM period to arrive at a Fair Market Value of TEV. My valuation multiple
                  selection process primarily involved analyses of company size (in terms of revenue
                  and earnings) and profitability.

             131. TEV/Revenue: The guideline companies’ LTM Revenue multiples ranged from 0.2x
                  to 3.9x with a median of 2.5x and a mean of 2.5x. I chose a multiple between the
                  lower quartile and the median to apply an LTM Revenue valuation multiple of 1.3x.

             132. Based on my transaction analysis, as described above, the FMV of the Enterprise
                  Value of McIntosh as of the valuation date, was:

                                                     $29.906 million.

             133. My transaction analysis is provided on Exhibits 4a and 4b.

        V.C.3 Conclusion

             134. I then equally weighted the two methods to determine the FMV of the Enterprise Value
                  of McIntosh as of the valuation date, was:

                                                     $29.722 million.

             135. My enterprise value analysis is provided in Exhibit 9a.

        V.D Bradford Holdings – Income Approach

             136. The DCF method is used to estimate value based on a projection of financial
                  performance over future periods of time. The projected financial performance includes
                  analyses of revenue, expenses, capital investment, residual value, capital structure,
                  and required rates of return.

             137. Based on the results of those analyses, a projection of economic cash flow from
                  business operations is estimated for future periods of time. The resulting cash flow
                  projection is discounted at an appropriate present value discount rate to estimate the
                  present value of the future cash flow.

             138. In addition to estimating the present value of future economic cash flow for a discrete
                  period, the residual, or terminal, value of the business enterprise, if valued in
                  perpetuity, is estimated as of the end of the discrete projection period. This terminal
                  value is discounted to estimate its present value as well.

             139. The present value of the cash flow projected for the discrete period is added to the
                  present value of the terminal value to derive the value of the equity of the business
                  enterprise.


        37   BHI050845_image

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             140. I used management-provided projected financial statements for the BHI’s Operating
                  Assets (projections which include consolidated results for Middleton and McIntosh)
                  for fiscal years 2003 through 2007 (the “Projected Period”).38 I utilized these
                  projections as the basis of my analysis.

             141. Several cash flow adjustments were necessary to convert projected net income into
                  projected debt free cash flow to the enterprise (“DFCF”), which is the cash flow
                  measure to which the present value discount factor is applied. Projected depreciation
                  and amortization expense and non-cash interest is added back, and projected capital
                  expenditures are subtracted. Projected increases in operating working capital
                  requirements are also subtracted.

             142. Depreciation and Amortization Expense: I used projected depreciation and
                  amortization expenses provided by management.39

             143. Capital Expenditures: I used projected capital expenditures provided by
                  management.40

             144. Operating Working Capital Requirements: The annual incremental operating
                  working capital requirement is generally described as that amount of cash needed
                  during each year to finance additional working capital assets, such as accounts
                  receivable and inventory. In general, as a business grows, it may need to invest cash
                  from operations in working capital assets. This investment of cash is a negative cash
                  flow for the purpose of quantifying the projected investment cash flow of the subject
                  company. I relied on guidance from management and historical financial statements
                  in projecting the incremental annual operating working capital requirements.

             145. I utilized a WACC of 30% based on the Expert Report of Pieter Vorster.41 Mr. Vorster
                  is an industry expert and determined that at the valuation date the expected rate of
                  return from a minority investment in Middleton would have been at least 30%. This is
                  in line with my own calculated present value discount factor of 30.3%, using the Build-
                  up method and based on discussions with Company management and industry
                  analysis. The high discount rate accounts for litigation risk and legislative risk in the
                  tobacco industry. From 1996 to 2009, federal and state excise taxes increased
                  dramatically for cigarettes and other tobacco products. During this time period, there
                  was great uncertainty as to the scope and scale of increases in tobacco excise taxes.
                  This particularly came to a head in the 2009 expansion of the State Children’s Health
                  Insurance Program (“SCHIP”) funded by an increase in tobacco excise taxes. Federal
                  taxes increased by $0.62 for a pack of cigarettes, $1.01 for a pack of little cigars, and
                  $0.35 for a pack of cigarillos. This brought the federal excise taxes on little cigars in
                  line with the taxes on cigarettes. According the CDC, the combined federal and state
                  average excise tax on cigarettes increased by 290% from 1996 to 200942. Although
                  the period discussed here extends beyond the time of the Plaintiff’s redemption
                  transaction, it is certainly representative of the heightened sense of regulatory and
                  legislative risk that was prevalent in 2001 to 2003. The risk of further tobacco taxes is


        38 BHI Projections provided by management
        39 BHI Projections provided by management
        40 BHI Projections provided by management
        41 Expert Report of Pieter Vorster, page 10
        42CDC – Federal & State Cigarette Excise Taxes – United States, 1995-2009 -
         https://www.cdc.gov/mmwr/preview/mmwrhtml/mm5819a2.htm

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                  an appropriate factor in increasing the risk factors used in calculating the discount
                  rate for Middleton.

             146. Litigation risk also contributes to a high discount rate. According to Ibisworld industry
                  reports, litigation and settlement payouts were the single greatest cost to the tobacco
                  manufacturing industry as of the valuation date and was projected to remain
                  significant for the foreseeable future.43 Litigation against the tobacco industry came in
                  full force in 1998 when the major U.S. tobacco firms settled tobacco litigation with the
                  country’s states, agreeing to pay $206 billion over 25 years for the purpose of
                  receiving protection from further state lawsuits (The other four states had already
                  settled for $40 billion).44 The Engle lawsuit against tobacco firms at this time was also
                  significant as it was the first class-action lawsuit against tobacco companies to
                  proceed to trial, and it was the longest civil action in the history of tobacco litigation at
                  the time. The initial jury verdict in 2000 awarded $145 billion in damages, although
                  this was eventually lowered in the appeal process in May 2003. On September 22,
                  1999 the United States government filed suit against members of the tobacco
                  industry.45 The lawsuit had four counts: Count I sought recovery of medical payments
                  made by the federal government under various federal programs, including Medicare,
                  pursuant to the Medical Cost Recovery Act (“MCRA”). Count II sought recovery of
                  payments by Medicare (but not other programs) under the Medicare Secondary Payor
                  Act (“MSPA”). Counts III and IV sought “equitable” relief – injunctions and
                  “disgorgement” – under the Racketeer Influenced and Corrupt Organizations (“RICO”)
                  statute. On September 28, 2000 the federal court agreed that the medical care cost
                  portions of the government’s lawsuit (Counts I and II) were without legal basis, and
                  accordingly dismissed them. That means the government could no longer pursue
                  claims for recovery of medical expenses paid by Medicare and other federal
                  programs. It was, however, ruled that the Department of Justice could proceed with
                  (1) its claims under the federal racketeering laws to give up profits allegedly obtained
                  through fraud and deceit since the 1950s; and (2) injunctive relief to restrict tobacco
                  companies’ activities in the future. These lawsuits, and the numerous cases brought
                  by individuals in the late 1990s and 2000s, highlight the litigation risk the Company
                  faced. The Company is also much smaller than the major players in the industry, and
                  as such would not have the financial depth to continuously defend itself, thus
                  necessitating a higher discount rate.

             147. Based on discussions with Company management and Industry analysis, I estimated
                  a long-term DFCF growth rate of 2% for the terminal year analysis. I consider this
                  long-term growth rate appropriate based on the rate of growth in the tobacco and
                  hotel industries based on Ibisworld industry reports46,47, historical inflation rates, and
                  historical changes in GDP.

             148. The capitalization rate used to estimate the terminal value is calculated by subtracting
                  the estimated long-term growth rate from the WACC. The terminal year DFCF is
                  divided by the capitalization rate to calculate the terminal value. I calculated the
                  capitalization rate for the Company to be 28.0%.



        43 Tobacco Product Manufacturing in the US May 2003, page 14
        44 Tobacco Product Manufacturing in the US May 2003, page 29
        45 Tobacco Product Manufacturing in the US May 2003, page 32
        46 Tobacco Product Manufacturing in the US May 2003, page 5
        47 Hotels (except Casino Hotels) and Motels in the US September 2003, page 4



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          149. Based on my DCF analysis, as described above, the FMV of the Enterprise Value of
               the Bradford Operating Assets, as of the valuation date was:

                                                    $291.000 million.

          150. My DCF analysis is provided on Exhibits 5a through 6.

        V.E Double Play

          151. During the fiscal year ended January 31, 2001 Double Play purchased an additional
               9.1973% stake in the Phillies for $19.1 million. As mentioned previously, this
               transaction represented the purchase of a minority interest in the Phillies by another
               minority owner at a pro-rata value. I used this transaction as the basis for its analysis.
               I do not know of any subsequent comparable transactions.

          152. I calculated the value of the Phillies by dividing $19.1 million by 9.1973% to determine
               a total enterprise value of $207.7 million. I then multiplied the enterprise value by the
               35.75% Double Play stake. Based on my analysis, the FMV of the Enterprise Value
               of Double Play, as of the valuation date, was:

                                                     $74.253 million.

          153. My analysis of Double Play is provided in Exhibit 7.

        V.F Conclusion

          154. I calculated a range of values for the Class A and Class B shares on a non-controlling,
               non-marketable basis.

        V.F.1 Lower Bound

          155. I calculated the low end of the range based on the 2001 BHI Transactions between
               the sellers and the Company. I first calculated the indicated equity of BHI by
               multiplying the price per share paid in the transaction by the number of shares. The
               indicated BHI equity valuation of the transaction was $146.4 million (Exhibit 8a).

          156. I rolled forward the price per share by dividing the $146.4 million by the updated share
               count as of the valuation date to determine the share price of the Class A stock to be
               $258 per share and the Class B stock to be $246 per share. (Exhibit 8b).

          157. The 2001 BHI Transactions are a fair and reasonable indicator of FMV because they
               represent the most recent price at which the BHI stock has traded between a willing
               buyer and a willing seller when the former is not under any compulsion to buy and the
               latter is not under any compulsion to sell, and both parties having reasonable
               knowledge of relevant facts. In addition, court decisions frequently state that the
               hypothetical buyer and seller are assumed to be able as well as willing to trade and
               remain well informed about the property and the market for such property.

          158. As I have stated previously, not only do the 2001 BHI Transactions represent a Fair
               Market Value price since it is an actual transaction, but it was later validated as a fair



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                   price since the Plaintiff’s Sister offered to sell her considerable stake in the Company
                   at that price in December 2002.48

        V.F.2 Upper Bound

             159. I calculated the upper bound using the valuation of BHI in Section V of this report. As
                  previously discussed, I used (1) the guideline publicly traded company method, (2)
                  the guideline merged and acquired company method, and (3) the DCF method to
                  estimate the FMV of the Enterprise Value of the Company.

             160. The market approach indicated a combined FMV of Enterprise Value of Middleton
                  and McIntosh (the BHI Operating Assets) of $315.4 million. The income approach
                  indicated a FMV of Enterprise Value of BHI Operating Assets of $291.0 million.

             161. I applied the following weights to each of the indications of value:

                         •   Market Approach: 50%
                         •   Income Approach: 50%

             162. I calculated the weighted FMV Enterprise Value of the BHI Operating Assets at $303.2
                  million. I then added the enterprise value of Double Play (the non-Operating Assets)
                  to calculate the total Enterprise Value of BHI Holdings, Inc., as of the valuation date,
                  to be $377.5 million.

             163. I then determined the equity value of BHI Holdings by adding what I believe to have
                  been a normalized cash balance of $25.0 million to determine the FMV Equity Value
                  of the Company of $402.5 million.

             164. I then subtracted a conglomerate discount of 20%. A conglomerate discount is applied
                  to capture the negative aspects of conglomerates such as the complexity of
                  operations, additional layers of management, and the potential for losses from one
                  business to dilute the profits of another. Since BHI controlled all of its subsidiaries,
                  including acting as the principal owner of the Phillies, I believe the conglomerate
                  discount is appropriate. The equity value of BHI Holdings after the conglomerate
                  discount was $322.0 million.

             165. To account for the power of voting shares over non-voting shares, I assigned a voting
                  premium of 5% to the Class A voting shares. After adjusting for the voting premium,
                  the Class A shares owned 0.148% of the Company and the Class B shares owned
                  99.852% of the Company.

               V.F.2.a       Class A Shares

             166. I calculated the 0.148% Class A ownership value to be $0.476 million. I then
                  subtracted a 27% discount for lack of marketability to determine a Fair Market Value
                  of the Class A ownership, as of the valuation date, of:

                                                      $0.348 million.


        48   2002-12-19 Lucia Buyout Proposal


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          167. The Class A price per share, as of the valuation date, is:

                                                     $415 per share.

            V.F.2.b     Class B Shares

          168. I calculated the 99.852% Class B ownership value to be $321.499 million. I then
               subtracted a 27% discount for lack of marketability to determine a Fair Market Value
               of the Class B ownership, as of the valuation date, of:

                                                    $234.694 million.

          169. The Class B price per share, as of the valuation date, is:

                                                     $395 per share.

        V.F.3 Conclusion

          170. I determined the fair and reasonable range of values for the Class A shares to be
               $258 to $415 per share. The February 28, 2003 transaction Class A price per share
               was $288 and is therefore within the reasonable range.

          171. I determined the range of values for the Class B shares to be within $246 to $395 per
               share. The February 28, 2003 transaction Class B price per share was $275 and is
               therefore in the reasonable range.

          172. My analysis of the enterprise value and share price is provided in Exhibits 9a and 9b.




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        VI.      Gould & Pakter Damages Review
        VI.A Overview

          173. Gould & Pakter outlines two models to calculate damages owed to the Plaintiff. The
               first model assumes Plaintiff sold her shares at the share price determined by the
               Stout report. The second model assumes Plaintiff did not sell her shares but retains
               her interest in the Company and instead received dividends and distributions over
               time. In my analysis I assume the methodology of both of Gould & Pakter’s models is
               correct and I restate those values based on my determination of value. The following
               table summarizes Gould & Pakter’s calculations and my calculations.
                                                                 Damages Summary

                                                            Pakter             Hilco Low End         Hilco Mid Point         Hilco High End
                                                           Model 1                Model 1                Model 1                 Model 1
          Anna Nupson 1994 Trust
                  Net Principal Shortfall                   $49,488,022                     $0             $3,279,235              $6,558,471
                  Unitrust Shortfall                         $8,953,380                     $0               $604,429              $1,208,858
                  Additional Available Funds
                   in the Income Account                    $40,045,780                     $0             $2,765,056              $5,530,112

          Anna Nupson 2001 Sub Trust
                  Net Principal Shortfall                   $59,947,516                     $0             $3,972,325              $7,944,649
                  Investment Income Foregone
                    due to Principal Shortfall               $9,867,776                     $0               $729,346              $1,458,693

                      Total Damages                      $168,302,474                       $0           $11,350,391            $22,700,783


                                                            Pakter             Hilco Low End         Hilco Mid Point         Hilco High End
                                                           Model 2                Model 2                Model 2                 Model 2
          Anna Nupson 1994 Trust
                  Net Principal Shortfall                  $347,413,147                     $0                      $0                     $0
                  Unitrust Shortfall                        $38,173,004                     $0                      $0                     $0
                  Additional Available Funds
                   in the Income Account                   $157,390,489                     $0                      $0                     $0

          Anna Nupson 2001 Sub Trust
                  Net Principal Shortfall                  $271,762,351                     $0                      $0                     $0
                  Investment Income Foregone
                    due to Principal Shortfall              $71,912,791                     $0                      $0                     $0

                      Total Damages                      $886,651,781                       $0                     $0                     $0


          Note: The Hilco mid point values are the average of the low end and high end values.
          Note: Plaintiff may have been able to access the additional available funds if she persudaded the trustees to distribute the funds.



        VI.B Model 1 Review

        VI.B.1       Gould & Packer Damages Calculation Summary – Model 1

          174. In Gould & Pakter’s analysis, the Plaintiff’s economic damages flowing from the Anna
               Nupson 1994 Trust exceed $8.9 million (“Model 1”). In Model 1, the 1994 Trust
               receives $83.9 million based on a Class A share price of $1,240 per share and a


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                Class B share price of $1,181 per share. This is an additional $64.3 million over the
                actual purchase price which amounts to $49.5 million after tax.

                    •   In Gould & Pakter’s analysis, the Plaintiff has a net principal shortfall of $49.5
                        million.
                    •   In Gould & Pakter’s analysis, this net principal amount is grown at the historical
                        rate of return of the Trust from February 26, 2003 through December 31, 2021,
                        less historical management fees and taxes to arrive at the net income shortfall.
                        The net income shortfall from the Trust amounts to $40.0 million. The Plaintiff
                        may have been able to access these funds in the income account had she
                        been able to persuade the trustees to distribute the funds to her. There is no
                        evidence that I have seen that the trustees would have distributed additional
                        funds.
                    •   In Gould & Pakter’s analysis, the lost Unitrust distributions from July 2019
                        through December 2021 amount to funds in excess of $8.9 million. Plaintiff,
                        under this model, would continue to receive distributions exceeding $298,000
                        per month on and after January 1, 2022, over and above the $8.9 million.

          175. In the Gould & Pakter report the Plaintiff’s economic damages relating to the Anna
               Nupson 2001 Sub Trust exceed $59.9 million (“Model 1”). In Model 1, the Sub Trust
               receives $101.6 million based on a Class B share price of $1,181 per share. This is
               an additional $77.9 million over the actual purchase price which amounts to $59.9
               million after tax.

                    •   In Gould & Pakter’s analysis, the Plaintiff has a net principal shortfall of $59.9
                        million.
                    •   In Gould & Pakter’s analysis, this net principal amount is grown at the historical
                        rate of return of the Trust from February 28, 2003 through December 31, 2021,
                        less historical management fees and taxes. The net income shortfall from the
                        Trust amounts to funds in excess of $9.8 million. The Plaintiff may have been
                        able to access these funds in the income account had she contested the
                        trustees’ discretion. There is no evidence that I have seen that the trustees
                        would have distributed additional funds.

        VI.B.2 My Rebuttal of the Damages Model 1

            VI.B.2.a    Premise of Damages

          176. The Model 1 Damages focus on the monetary losses allegedly suffered by the Plaintiff
               as a result of being paid a price in the redemption transaction that was less than Fair
               Market Value. This being the case, the calculation of any damages should focus on
               the difference between the amount paid for the Plaintiff’s shares and the amount she
               should have been paid under the premise of Fair Market Value. In addition, there
               would have been a compounding effect on those damages as there would be the
               notion that the increased proceeds would have generated an economic return over
               time. Of course, this calculation is highly dependent on significant assumptions over
               the subsequent 18 years.

          177. I believe that there are no damages to be realized by the Plaintiff other than the
               opportunity cost had she done nothing. Of course, that conclusion has the benefit of
               perfect hindsight. The reason I see no damages is that I believe Fair Market Value
               would have been consistent with the 2001 BHI Transaction and, in fact, the Plaintiff

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                was paid more than the price paid in the 2001 BHI Transaction as a result of Mr.
                Middleton raising the price to cover the lower share count, additional taxes, and
                Company performance. The Plaintiff was under no compulsion to sell yet chose to
                sell her shares. It is reasonable to believe that she thought she was receiving Fair
                Market Value at the time of the redemption. In fact, based on her sister’s offer to sell
                shares based on the 2001 BHI Transactions, she might have thought she was
                receiving more than Fair Market Value.

          178. Since the price paid in the 2001 BHI Transaction forms the lower bound of my
               valuation of Bradford shares, it follows that $0 is the low end of my damages
               calculation.

          179. For the upper bound of any damages calculation, I believe it is appropriate to use the
               high end of my valuation of BHI shares as of February 28, 2003 despite the fact the
               Plaintiff could have held out for a higher price had she felt at the time she was not
               receiving a fair price.

            VI.B.2.b    My Calculation of Damages – Model 1

          180. As a result, my calculation of the high end of the damages begins with a Class A
               share price of $415, versus the $288 price paid and a Class B share price of $395
               versus the $275 price paid.

          181. Under these share prices, the 1994 Trust would receive $28.1 million based on Class
               A share price of $415 per share and a Class B share price of $395 per share. This is
               an additional $8.5 million above the actual purchase price which amounts to $6.6
               million after tax. I calculate that the Plaintiff’s economic damages relating to the Anna
               Nupson 1994 Trust are $1.2 million (consistent with the Pakter methodology).
               Additionally, the Plaintiff may have been able to access $5.5 million in additional funds
               if she persuaded the trustees to distribute them.

                    •   I calculate that the Plaintiff has a net principal shortfall of $6.6 million.
                    •   I calculate this net principal amount is grown at the historical rate of return of
                        the Trust from February 26, 2003 through December 31, 2021, less historical
                        management fees and taxes to arrive at the net income shortfall. The net
                        income shortfall from the Trust amounts to $5.5 million. The Plaintiff may have
                        been able to access these funds in the income account had she been able to
                        persuade the trustees to distribute the funds to her. There is no evidence that
                        I have seen that the trustees would have distributed additional funds.
                    •   I calculate that the lost Unitrust distributions from July 2019 through December
                        2021 amount to $1.2 million. Plaintiff, under this model, would continue to
                        receive distributions of $40,295 per month on and after January 1, 2022, over
                        and above the $1.2 million

          182. I calculate that the Plaintiff’s economic damages relating to the Anna Nupson 2001
               Sub Trust are $7.9 million. Additionally, the Plaintiff may have been able to access
               $1.5 million in additional funds if she persuaded the trustees to distribute them. The
               2001 Sub Trust receives $34.0 million based on a Class B share price of $409 per
               share. This is an additional $10.3 million over the actual purchase price which
               amounts to $7.9 million after tax.

                    •   Plaintiff has a net principal shortfall of $7.9 million.

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                    •   This net principal amount is grown at the historical rate of return of the Trust
                        from February 26, 2003 through December 31, 2021, less historical
                        management fees and taxes. The net income shortfall from the Trust amounts
                        to funds of $1.5 million. The Plaintiff may have been able to access these
                        funds in the income account had she been able to persuade the trustees to
                        distribute them. There is no evidence that I have seen that the trustees would
                        have distributed additional funds.

          183. Calculation of my damages can be found in Exhibits 10a and 10b.

        VI.C Model 2 Review

        VI.C.1    Gould & Packer Damages Calculation Summary – Model 2

          184. In Gould & Pakter’s analysis, the Plaintiff’s economic damages flowing from the Anna
               Nupson 1994 Trust exceed $38.1 million (“Model 2”). In Model 2, Anna does not sell
               her shares and retains her interest in BHI, receiving distributions and dividends over
               time. Anna would have received distributions from the 2005/2006 sales of the
               McIntosh hotels and from the 2007 sale of Middleton.

                    •   In Gould & Pakter’s analysis, the Plaintiff, under this model, may have been
                        able to access in excess of $157.3 million in additional available funds in the
                        income account had she contested the trustees’ discretion. This is calculated
                        by adding the net principal shortfall to the net income shortfall and subtracting
                        the total principal net of taxes. Plaintiff’s distributions would have amounted to
                        an additional $224 million net of taxes. This total principal amount is grown at
                        the historical rate of return of the Trust from February 26, 2003 through
                        December 31, 2021, less historical management fees and taxes. The net
                        principal shortfall from the Trust amounts to $347.4 million. Dividends
                        received, subtracting management fees and taxes, amount to a $34.3 million
                        net income shortfall.
                    •   In Gould & Pakter’s analysis, the lost Unitrust distributions from July 2019
                        through December 2021 amount to funds in excess of $38.1 million. Plaintiff,
                        under this model, would continue to receive distributions exceeding
                        $1,272,000 per month on and after January 1, 2022, over and above the $38.1
                        million.
                    •   In Gould & Pakter’s analysis, Anna Nupson would receive the principal
                        shortfall effective February 1, 2028, computing this amount as of December
                        31, 2021. Anna Nupson would, under this model, only receive these funds on
                        February 1, 2028.

          185. In Gould & Pakter’s analysis, the Plaintiff’s economic damages relating to the Anna
               Nupson 2001 Sub Trust exceed $271.7 million (“Model 2”). In Model 2, Anna does
               not sell her shares and retains her interest in BHI, receiving distributions and
               dividends over time. Anna would have received distributions from the 2005/2006
               sales of the McIntosh hotels and from the 2007 sale of Middleton.

                    •   In Gould & Pakter’s analysis, the Plaintiff, under this model, may have been
                        able to access in excess of $271.7 million in additional available funds in the
                        income account had she contested the trustees’ discretion. Plaintiff’s
                        distributions from the sale of McIntosh and JMI would have amounted to an
                        additional $271.7 million net of taxes.

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                    •   In Gould & Pakter’s analysis, the Plaintiff, under this model, may have been
                        able to access in excess of $71.9 million in additional available funds in the
                        income account had she contested the trustees’ discretion. This is calculated
                        by adding the net principal shortfall to the net income shortfall and subtracting
                        the total principal net of taxes. Plaintiff’s distributions would have amounted to
                        an additional $271.8 million net of taxes. This total principal amount is grown
                        at the historical rate of return of the Trust from February 26, 2003 through
                        December 31, 2021, less historical management fees and taxes. The net
                        principal shortfall from the Trust amounts to $301.1 million. Dividends
                        received, subtracting management fees and taxes, amount to a $42.6 million
                        net income shortfall.
                    •   In Gould & Pakter’s analysis, Anna Nupson would receive the principal
                        shortfall effective February 1, 2028, computing this amount as of December
                        31, 2021. Anna Nupson would, under this model, only receive these funds on
                        February 1, 2028.

        VI.C.2 My Rebuttal of the Damages Model 2

            VI.C.2.a    Premise of Damages

          186. The premise of Model 2 (lost gains had the Plaintiff done nothing) is not a valuation
               issue. The idea that the Plaintiff is entitled to damages for willingly entering into a
               transaction does not necessarily focus on the idea that the price paid by the Company
               as part of the redemption transaction was insufficient. These “damages” rely entirely
               on the benefit of hindsight. As I have argued in reviewing Model 1, if the Plaintiff
               thought the price being offered by the Company for her shares was inadequate, then
               she should have done nothing. However, she sold at what she believed to have been
               a fair price. Holding BHI shares was a viable option which she chose not to exercise.
               It follows that there are no possible valuation-related damages under the scenario in
               which she held her BHI shares.

        VI.D Additional Assumptions

          187. Management Fees from the Trusts
               The report assumed that significant increases in funds received, discussed above,
               would have resulted in additional returns on the invested funds, these same significant
               increases would have resulted in increased investment advisory compensation and/or
               management services. Gould & Pakter determined that the average investment
               advisory compensation and/or management services from approximately March 2003
               to June 2019 for the Anna Nupson 1994 Trust was 3.40% and that the average
               investment advisory compensation and/or management services from approximately
               March 2003 through January 2021 for the Anna Nupson 2001 Sub Trust was 1.90%.
               Gould & Pakter reduced Anna Nupson’s economic damages by these increased
               investment advisory compensation and/or management services costs.

          188. Taxes from additional income
               While the significant increases, as discussed above, would have resulted in additional
               returns on the invested funds, these same significant increases would have resulted
               in additional capital gains taxes and additional income taxes. Gould & Pakter
               assumed the following income tax rates would apply capital gains taxes of 15% on
               the BHI 2007-2008 Distributions; capital gains taxes of 20% on all other principal
               amounts; Trust income taxes of 37% on all dividends; and 3.07% Pennsylvania state

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                taxes. Both capital gains taxes and ordinary taxes were computed without deducting
                the investment advisory compensation and/or management services costs, due to the
                likely application of alternative minimum tax (AMT). Gould & Pakter assumed all other
                Trust expenses like legal, accounting and tax preparation fees would not vary with
                additional returns on invested funds and, accordingly, would have no impact on my
                economic damages modeling.




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        VII. Additional Valuation Information
        VII.A Certification of Valuation

             1. The statements of fact contained in this report are true and correct.

             2. The reported analyses, opinions, and conclusions are limited only by the reported
             assumptions and limiting conditions, and are my personal, impartial, and unbiased
             professional analyses, opinions, and conclusions.

             3. My engagement in this assignment is not contingent upon developing or reporting
             predetermined results.

             4. My compensation for completing this assignment is not contingent upon the
             development or reporting of a predetermined value or direction in value that favors the
             cause of the client, the amount of the value opinion, the attainment of a stipulated result,
             or the occurrence of a subsequent event directly related to the intended use of this
             valuation.

             5. No individuals have provided significant valuation assistance to the person(s) signing
             this certification.

             6. No one that worked on this engagement has any known financial interest in the
             Company, its shareholders, any of its related entities, or the outcome of the analysis.

             7. This report is solely for use in the cited dispute, for the purpose stated herein, and is
             not to be referred to or distributed, in whole or in part, without prior written consent.




             John Fenn
             Senior Managing Director




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        VII.B Statement of Conditions

             1. Hilco Enterprise Valuation Services, LLC; Hilco Valuation Services, LLC; and Hilco
             Global (collectively “Hilco”) and its principals assume no responsibility for the legal
             description or matters including legal or title considerations. Title to the subject business
             interest is assumed to be good and marketable unless otherwise stated.

             2. The subject business and/or intangible asset ownership interest(s) is/are appraised
             free and clear of any or all liens or encumbrances unless otherwise stated.

             3. We assume responsible ownership and competent management with respect to the
             subject business and/or intangible asset ownership interest(s).

             4. The information furnished to us by others is believed to be complete and accurate.
             However, we did not make independent examinations of this information. Accordingly,
             we make no representations or warranties, nor do we express any opinion, regarding
             the accuracy or reasonableness of such information.

             5. We assume no hidden or unapparent conditions regarding the subject business and/or
             intangible asset ownership interest(s).

             6. We assume that there is full compliance with all applicable federal, state, and local
             regulations and laws unless the lack of compliance is stated, defined, and considered in
             this report.

             7. We assume that all required licenses, certificates of occupancy, consents, or
             legislative or administrative authority from any local, state, or national government, or
             private entity or organization have been or can be obtained or reviewed for any use on
             which the opinion contained in this report is based.

             8. Unless otherwise stated in this report, we did not observe, and we have no knowledge
             of, the existence of hazardous materials with regard to the subject business and/or
             intangible asset ownership interest(s). However, we are not qualified to detect such
             substances. We assume no responsibility for such conditions or for any expertise
             required to discover them.

             9. Possession of this report does not carry with it the right of publication. It may not be
             used for any purpose by any person other than the client to whom it is addressed without
             our written consent, and, in any event, only with proper written qualifications and only in
             its entirety.

             10. We, by reason of this valuation report, are not required to give testimony or to be in
             attendance in court with reference to the business and/or intangible asset ownership
             interest(s) in question unless arrangements have previously been made.

             11. Neither all nor any part of the contents of this report shall be disseminated to the
             public through advertising, public relations, news, sales, or other media without our prior
             written consent and approval.

             12. The analyses, opinions, and conclusions presented in this report apply to this
             engagement only and may not be used out of the context presented herein. This report


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             is valid only as of the valuation date specified herein and only for the purpose specified
             herein.




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        VIII. Appendix A - Valuation Exhibits




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                                                                                                                                                                                                                                                                                    January 14, 2022
                                                                      Market Approach
                                                                      Guideline Publicly Traded Company Method
                                                                      Market Pricing Multiples as of                                                                             2/28/2003                                                                 Exhibit 1a
                                                                                                                                                                                                                                                                  (in $000,000's)
                                                                      John Middleton, Inc.
                                                                                                                                                    Market Pricing Multiples as of 2/28/2003
                                                                                                                                                                                                  Enterprise                LTM                        LTM Multiples
                                                                               Ticker                       Company Name                         Name At Valuation Date             Filing Date     Value       Revenue    EBITDA      EBIT      Revenue EBITDA EBIT
                                                                      LSE:BATS                  British American Tobacco p.l.c.        AMEX:BTI                                  December-02          $27,742    $17,061      $4,661    $3,509      1.6x   6.0x         7.9x
                                                                      NYSE:L                    Loews Corporation                      NYSE:LTR                                  December-02           17,396     17,495      2,246      1,920      1.0x   7.7x         9.1x
                                                                      NYSE:MO                   Altria Group, Inc.                     Philip Morris Companies, Inc. - NYSE:MO   December-02           98,577     62,182     18,476     17,145      1.6x   5.3x         5.7x




                                                                                                                                                                                                                                                                                    Anna K. Nupson v. Schnader Harrison Segal & Lewis LLP, et al.
                                                                      IQ24047934                R.J. Reynolds Tobacco Holdings, Inc.   NYSE:RJR                                  December-02            4,404      6,211      1,232      1,059      0.7x   3.6x         4.2x




                                                                                                                                                                                                                                                                                                                                                    44
                                                                      OM:SWMA                   Swedish Match AB (publ)                NASDAQ:SWMAY                              December-02            3,065      1,569        351       277       2.0x   8.7x       11.1x
                                                                      IQ190876                  UST LLC                                NYSE:UST                                  December-02            5,595      1,639        912       862       3.4x   6.1x         6.5x
                                                                      NYSE:VGR                  Vector Group Ltd.                      NYSE:VGR                                  December-02              581       311          (1)      (15)      1.9x   N/A         N/A
                                                                      LSE:IMB                   Imperial Brands PLC                                                              December-02           16,548      4,140      1,516      1,210     N/A     N/A        13.7x
                                                                                                                                                                                                                                     Minimum        0.7x   3.6x        4.2x
                                                                                                                                                                                                                                Lower Quartile      1.0x   4.9x        5.7x
                                                                                                                                                                                                                                        Mean        1.7x   6.2x        8.3x
                                                                                                                                                                                                                                       Median       1.6x   6.0x        7.9x
                                                                                                                                                                                                                                Upper Quartile      2.0x   8.0x       11.1x
                                                                                                                                                                                                                                    Maximum         3.4x   8.7x       13.7x
                                                                                                                                                                                                                             Selected Multiple       n/a   2.7x        3.1x
                                                                      Source: S&P Capital IQ.
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        Market Approach
        Guideline Publicly Traded Company Method
        Multiple Selection and Valuation Summary                                                                Exhibit 1b
        John Middleton, Inc.
                                                                                                  Selected
                                 John Middleton, Inc.       Industry Pricing Multiples             Pricing      Indicated Value
        Financial Fundamentals        (in $000's)       Low     High        Mean       Median     Multiples       (in $000's)

        EBITDA:
         2002                               $106,024    3.6x      8.7x      6.2x        6.0x        2.7x              $284,233

        EBIT:
         2002                                $97,337    4.2x     13.7x      8.3x        7.9x        3.1x              $303,570

                                                                                   Implied Enterprise Value           $293,901




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                                                                                                                                                                                                                                                                                                                                                                    January 14, 2022
                                                                      Market Approach
                                                                      Guideline Merged or Acquired Company Method
                                                                      Market Pricing Multiples                                                                                                                                                                                                                                              Exhibit 2a
                                                                                                                                                                                                                                                                                                                                                  (in $000,000's)
                                                                      John Middleton, Inc.
                                                                                                                                                                                          Summary Valuation Multiples
                                                                           Acquisition                                                                                                                                                                      Transaction        Enterprise                LTM                     Adjusted Multipliers
                                                                             Date                                             Target Company                                                                     Acquirer                                    Amount             Value         Revenue EBITDA       EBIT     Revenue EBITDA          EBIT
                                                                      October-01           Austria Tabak GmbH & Co KG                                                          JTI UK Limited                                                                       $1,493           $2,076   $52,579     $3,948   $2,652       0.0x       0.5x         0.8x
                                                                      June-01              Massalin Particulares S.R.L.                                                        Philip Morris Companies Incorporated (nka:Altria Group, Inc.)                              35            618      389        134      116        1.6x       4.6x         5.3x
                                                                      June-01              Societe Nationale d'Exploitation Industrielle des Tabacs et Allumettes SAS          Altadis S.A.                                                                               54          2,435    26,796      2,582    2,345       0.1x       0.9x         1.0x
                                                                      April-01             Tobaccor S.A.                                                                       Imperial Tobacco Group PLC (nka:Imperial Brands PLC)                                   256             2,533     1,640       NA       348        1.5x       N/A          7.3x




                                                                                                                                                                                                                                                                                                                                                                    Anna K. Nupson v. Schnader Harrison Segal & Lewis LLP, et al.
                                                                      May-01               British American Tobacco Australasia Limited                                        British American Tobacco p.l.c.                                                        592             2,937     3,817       311      240        0.8x       9.4x        12.2x




                                                                                                                                                                                                                                                                                                                                                                                                                                    46
                                                                      March-01             Massalin Particulares S.R.L.                                                        FTR Holding S.A.                                                                       219               677      358        116       98        1.9x       5.9x         6.9x
                                                                      July-00              Nobleza Piccardo S.A.I.C.y F. (nka:British American Tobacco Argentina S.A.I.C.y F.) British American Tobacco p.l.c.                                                            33            148      270         50       41        0.5x       2.9x         3.6x
                                                                      July-00              General Cigar Holdings, Inc.                                                        Swedish Match AB (publ)                                                                278               301      178         32       24        1.7x       9.3x        12.8x
                                                                      February-00          Imasco Ltd.                                                                         Imperial Tobacco Canada Limited                                                     11,191            16,536     8,706      3,538    3,272       1.9x       4.7x         5.1x
                                                                      September-99         W.D. & H.O. Wills Holdings, Ltd.                                                    Rothmans Holdings Ltd. (nka:British American Tobacco Australasia Limited)              158               738     1,797        NA        74       0.4x       N/A         10.0x
                                                                      January-99           Consolidated Cigar Hldngs                                                           Societe Nationale d'Exploitation Industrielle des Tabacs et Allumettes SAS             733               729      283         84       76        2.6x       8.7x         9.6x
                                                                      July-98              Douwe Egberts Van Nelle Tobacco                                                     Imperial Tobacco Group PLC (nka:Imperial Brands PLC)                                  1,080            1,080      300        NA        NA        3.6x       N/A          N/A
                                                                                                                                                                                                                                                                                                                Minimum         0.0x       0.5x         0.8x
                                                                                                                                                                                                                                                                                                           Lower Quartile       0.4x       1.9x         3.6x
                                                                                                                                                                                                                                                                                                                   Mean         1.4x       5.2x         6.8x
                                                                                                                                                                                                                                                                                                                  Median        1.6x       4.7x         6.9x
                                                                                                                                                                                                                                                                                                           Upper Quartile       1.9x       9.0x        10.0x
                                                                                                                                                                                                                                                                                                               Maximum          3.6x       9.4x        12.8x
                                                                                                                                                                                                                                                                                                        Selected Multiple        n/a       1.9x         3.6x
                                                                      Source: Capital IQ
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        Market Approach
        Guideline Merged or Acquired Company Method
        Multiple Selection and Valuation Summary                                                                         Exhibit 2b
        John Middleton, Inc.

                                                                                                             Selected        Indicated
                                 John Middleton, Inc.          Transaction Pricing Multiples                  Pricing          Value
        Financial Fundamentals        (in $000's)       Low        High            Mean        Median        Multiples      (in $000's)

        EBITDA:
         2002                              $106,024     0.5x       9.4x           5.2x          4.7x           1.9x           $205,426

        EBIT:
         2002                               $97,337     0.8x       12.8x          6.8x          6.9x           3.6x           $349,612

                                                                                               Implied Enterprise Value       $277,519




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                                                                                                                                                                                                                                                                            January 14, 2022
                                                                      Market Approach
                                                                      Guideline Publicly Traded Company Method
                                                                      Market Pricing Multiples as of                                                                 2/28/2003                                                                     Exhibit 3a
                                                                                                                                                                                                                                                          (in $000,000's)
                                                                      McIntosh Inns
                                                                                                                                               Market Pricing Multiples as of 2/28/2003
                                                                                                                                                                                       Enterprise                LTM                          LTM Multiples
                                                                              Ticker                        Company Name                    Name At Valuation Date       Filing Date     Value       Revenue    EBITDA      EBIT        Revenue EBITDA EBIT
                                                                      IQ250572                  Arlington Hospitality, Inc.      Amerihost Properties, Inc.          December-02               $95        $77         $8           $3      1.2x   11.8x       37.4x




                                                                                                                                                                                                                                                                            Anna K. Nupson v. Schnader Harrison Segal & Lewis LLP, et al.
                                                                      OTCPK:CNDL                Candlewood Hotel Company, Inc.   Candlewood Hotel Company, Inc.      December-02              $165       $268        ($4)     ($10)        0.6x   N/A          N/A




                                                                                                                                                                                                                                                                                                                                            48
                                                                      IQ321708                  ShoLodge, Inc.                   ShoLodge, Inc.                      December-02              $104        $28        ($9)     ($12)        3.7x   N/A          N/A
                                                                      IQ366667                  Hudson Hotels Corp.              Hudson Hotels Corp.                 September-02             $113        $45        $14           $7      2.5x    8.2x       16.0x
                                                                                                                                                                                                                          Minimum          0.6x    8.2x       16.0x
                                                                                                                                                                                                                     Lower Quartile        0.8x     n/a         n/a
                                                                                                                                                                                                                             Mean          2.0x   10.0x       26.7x
                                                                                                                                                                                                                            Median         1.9x   10.0x       26.7x
                                                                                                                                                                                                                     Upper Quartile        0.8x     n/a         n/a
                                                                                                                                                                                                                         Maximum           3.7x   11.8x       37.4x
                                                                                                                                                                                                                  Selected Multiple        1.3x     n/a         n/a
                                                                      Source: S&P Capital IQ.
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        Market Approach
        Guideline Publicly Traded Company Method
        Multiple Selection and Valuation Summary                                                           Exhibit 3b
        McIntosh Inns
                                                                                             Selected
                                 McIntosh Inns         Industry Pricing Multiples             Pricing      Indicated Value
        Financial Fundamentals    (in $000's)      Low     High        Mean       Median     Multiples       (in $000's)

        Revenue:
         2002                             22,406   0.6x      3.7x      2.0x        1.9x        1.3x                $29,538

                                                                              Implied Enterprise Value            $29,538




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                                                                                                                                                                                                                                                                                                                                        January 14, 2022
                                                                      Market Approach
                                                                      Guideline Merged or Acquired Company Method
                                                                      Market Pricing Multiples                                                                                                                                                                                                                  Exhibit 4a
                                                                                                                                                                                                                                                                                                                      (in $000,000's)
                                                                      McIntosh Inns
                                                                                                                                                                          Summary Valuation Multiples
                                                                           Acquisition                                                                                                                                        Transaction        Enterprise                  LTM                     Adjusted Multipliers
                                                                             Date                           Target Company                                                    Acquirer                                         Amount             Value           Revenue EBITDA      EBIT      Revenue EBITDA          EBIT
                                                                      May-02               Suburban Lodges of America, Inc.                InTown Suites, Inc                                                                           $219              $198        $76       $25      $15        2.6x       7.9x        13.6x
                                                                      January-01           Sunburst Hospitality Corporation                                                                                                              330               384       212         61       35        1.8x       6.3x        11.0x
                                                                      June-00              Homestead Village Incorporated                  Security Capital Group Incorporated                                                              65             936       238        107       64        3.9x       8.8x        14.7x
                                                                      October-00           Courtyard By Marriott II LP                     Marriott International, Inc.                                                                  651               673       299         85       57        2.3x       7.9x        11.8x




                                                                                                                                                                                                                                                                                                                                        Anna K. Nupson v. Schnader Harrison Segal & Lewis LLP, et al.
                                                                      December-00          CMB One Hotels LP                               Marriott International, Inc.                                                                  457               476       206         63       44        2.3x       7.6x        10.8x




                                                                                                                                                                                                                                                                                                                                                                                                        50
                                                                      March-00             Bristol Hotels & Resorts                        Bass PLC (nka:InterContinental Hotels Group PLC)                                              164               156       757         15       12        0.2x      10.2x        12.8x
                                                                      November-99          Promus Hotel Corporation                        Hilton Worldwide, Inc. (nka:Hilton Worldwide Holdings Inc.)                                 3,902             3,869      1,109       414      330        3.5x       9.4x        11.7x
                                                                      August-99            Red Roof Inns Inc.                              Accor SA                                                                                    1,142             1,129       372        147      109        3.0x       7.7x        10.3x
                                                                      May-99               Signature Inns, Inc.                            Jameson Inns, Inc.                                                                            127               117        42         16       11        2.8x       7.4x        10.4x
                                                                      May-98               Red Lion Inns LP                                Boykin Lodging Co.                                                                            236               236        40         26       16        N/A        9.1x        15.0x
                                                                      March-98             Chartwell Leisure Inc. (nka:W W Leisure, Inc)   West Street Capital Partners; Westmont Hospitality Group, Inc.; Whitehall Street Real Estate Limited
                                                                                                                                                                                                                                           328 Partnership IX
                                                                                                                                                                                                                                                            272      127         24       15        2.1x       N/A          N/A
                                                                                                                                                                                                                                                                                    Minimum         0.2x       6.3x        10.3x
                                                                                                                                                                                                                                                                               Lower Quartile       2.1x       7.5x        10.7x
                                                                                                                                                                                                                                                                                       Mean         2.5x       8.2x        12.2x
                                                                                                                                                                                                                                                                                      Median        2.5x       7.9x        11.8x
                                                                                                                                                                                                                                                                               Upper Quartile       3.1x       9.2x        13.9x
                                                                                                                                                                                                                                                                                   Maximum          3.9x      10.2x        15.0x
                                                                                                                                                                                                                                                                            Selected Multiple       1.3x        n/a          n/a
                                                                      Source: Capital IQ
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        Market Approach
        Guideline Merged or Acquired Company Method
        Multiple Selection and Valuation Summary                                                                   Exhibit 4b
        McIntosh Inns

                                                                                                       Selected        Indicated
                                 McIntosh Inns           Transaction Pricing Multiples                  Pricing          Value
        Financial Fundamentals    (in $000's)     Low        High            Mean        Median        Multiples      (in $000's)

        Revenue:
         2002                            22,406   0.2x       3.9x           2.5x          2.5x           1.3x             $29,906

                                                                                         Implied Enterprise Value        $29,906




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                   Income Approach
                   Discounted Cash Flow Method
                   Weighted Average Cost of Capital                                           Exhibit 5a
                   Bradford Holdings, Inc.

                   Cost of Equity Capital:                                      Weighted Average
                                                                                  Cost of Capital    Source
                   Risk-free Rate of Return                                           4.70%            [a]
                   Long-term Equity Risk Premium                                      7.00%            [b]
                   Industry Risk Premium per Exhibit 5b                              -2.86%
                   Size Equity Risk Premium                                           3.50%            [c]
                   Unsystematic Equity Risk Premium                                  18.00%            [d]
                    Total Cost of Equity Capital                                     30.34%

                   Cost of Debt Capital:
                   Pretax Cost of Debt Capital                                        5.5%             [e]
                   Tax Rate                                                          40.0%
                    Total After-tax Cost of Debt Capital                              3.3%

                   Capital Structure:
                   Equity / Invested Capital                                          100%             [f]
                   Debt / Invested Capital                                             0%              [f]
                                                                                      100%

                   WACC                                                              30.3%

                   Selected WACC                                                     30.0%             [g]


                   Sources:
                   [a] Federal Reserve Statistical Release as of 02/28/2003.
                   [b] 2002 Long Term ERP per Ibbotson Associate SBBI Valuation Edition 2004 Yearbook.
                   [c] 2002 Micro Cap Size Premia per Ibbotson Associate SBBI Valuation Edition 2004 Yearbook.
                   [d] Analyst's estimate primarily based on review of company specific risks.
                   [e] Middle Market Debt Rate for February 2003 per S&P LCD Leveraged Loan Index.
                   [f] Per BHI's capital strucure as of February 2003.
                   [g] Selected WACC based on the Vorster Report.




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        Income Approach
        Discounted Cash Flow Method
        CAPM Beta Calculation as of                                         2/28/2003                                                                                               Exhibit 5b
        BHI Holdings, Inc.

                                                                              Outstanding           Market Value                                                  Enterprise
                                                       Levered Beta             Debt [a]              of Equity          Minority Interests      Debt/             Value [b]          Unlevered
        Company Name                                   per Capital IQ         ($000,000)             ($000,000)             ($000,000)           Equity           ($000,000)            Beta
        British American Tobacco p.l.c.                          0.689                   0.0              20,950.2                     0.0               0.0x          20,950.2            0.69
        Loews Corporation                                        0.939               6,817.8               8,687.1                 1,891.3               0.6x          17,396.2            0.63
        Altria Group, Inc.                                       0.684              19,235.0              79,952.5                 4,235.0               0.2x         103,422.5            0.59
        R.J. Reynolds Tobacco Holdings, Inc.                       N/A                (536.0)                  0.0                     0.0               N/A             (536.0)           N/A
        Swedish Match AB (publ)                                  0.169                 389.7               2,573.6                    76.1               0.1x           3,039.4            0.15
        UST LLC                                                    N/A                 758.0               4,837.4                     0.0               0.2x           5,595.4            N/A
        Vector Group Ltd.                                        1.178                  54.0                 478.8                    47.9               0.1x             580.7            1.10
        Imperial Brands PLC                                      0.584               5,152.6              11,305.6                    26.4               0.5x          16,484.7            0.42
        Arlington Hospitality, Inc.                                N/A                  82.1                   16.2                    0.3               5.0x              98.6            N/A
        Candlewood Hotel Company, Inc.                           1.383                  47.0                    6.8                    0.0               7.0x              53.8            0.17
        ShoLodge, Inc.                                             N/A                  89.9                   13.3                    0.8               6.4x             104.1            N/A
        Hudson Hotels Corp.                                        N/A                   0.0                    0.3                    0.0               0.0x               0.3            N/A


                                                                                                 Company Beta Relevering
                                                                                                                      Company Calculation:
                                                                                                                                 Beta Relevering Calculation:
                                                                                                 Tax Rate (Marginal) Tax Rate (Marginal)                                                40%
                                                                                                 Unlevered Beta (Sector)
                                                                                                                      Unlevered
                                                                                                                         [c]    Beta (Sector) [c]                                       0.59
                                                                                                 Subject Company Debt/Equity
                                                                                                                      Subject Company Debt/Equity                                       0.0x

                                                                                                                                            Relevered Beta (Subject Company) [d]         0.59
                                                                                                                      Historical Long Term Equity Risk Premium(1926-Present) [e]        7.00%
                                                                                                                                          Industry Risk Premium Based on Beta [f]      -2.86%



        Footnotes:
        [a] Includes preferred stock and minority interest.
        [b] Cash has been subtracted in the calculation of enterprise value (Market Capitalization+Total Debt-Cash+Preferred Stock+Minority Interest).
        [c] Unlevered Beta (Sector) = Levered Beta (Sector)/(1+((1-Tax Rate (Sector) x Debt/Equity (Sector))
        [d] Relevered Beta (Subject Company) = Unlevered Beta (Sector) x (1+((1 - Tax Rate (Sector) X Debt/Equity (Sector)
        [e] Per Ibbotson Associates SBBI Valuation Edition 2004 Yearbook
        [f] Industry Risk Premium = Relevered Beta x Historical LT ERP - Historical LT ERP




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        Income Approach
        Discounted Cash Flow Method
        Projected Cash Flow and Valuation Summary                                                                    Exhibit 6
                                                                                                                           (in $000's)
        BHI Holdings, Inc.

                                                                           Stub Period                Projected Year
        Present Value of Net Free Cash Flow to Firm (FCFF):               Mar-Dec 2003     2004      2005        2006       2007

        Pre-Tax Profit [1]                                                     $112,760 $130,861 $141,977 $151,499 $160,608
        Taxese @ 40%                                                             45,104   52,345   56,791   60,600   64,243
        Debt Free Net Income                                                    $67,656    78,517    85,186      90,899     96,365
          Add: Depreciation                                                      10,922     9,009     6,898       5,915      5,387
          Less: Capital Expenditures                                              2,338     6,392     5,699       2,475      3,702
          Less: Working Capital Requirement                                       9,144    21,204    14,737      13,567     13,363
        Debt Free Cash Flow                                                     $67,096    59,929    71,647      80,773     84,688

        Partial Period Multiple                                                     0.83
        PV Period                                                                   0.42      1.33      2.33        3.33       4.33
        Present Value Factor @ 30% [a]                                           0.8964    0.7048    0.5422      0.4171     0.3208

        Present Value of Discrete Period FCFF                                   $50,123    $42,239   $38,845     $33,686   $27,169

        Total Present Value of Discrete Period FCFF                            $192,062

        Present Value of Terminal Value:
        Terminal Year Cash Flow                                                 $86,381
        Direct Capitalization Rate [b]                                            28.0%
        Terminal Value                                                         $308,505
        Present Value Factor @ 30% [a]                                           0.3208
        Present Value of Terminal Value                                         $98,971

        Valuation Summary:
        Present Value of Discrete Period                                       $192,062
        Present Value of Terminal Value                                         $98,971
        FMV of 100% Enterprise Value of the Firm                               $291,000



        Source:
        [1] Projections are per BHI Projections provided by management.

        Footnotes:
        [a] Calculated as if cash flow received at mid-year.
        [b] Incorporating an expected long-term nominal growth rate of 2.0%.




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        Valuation Synthesis and Conclusion                                                                                 Exhibit 7
                                                                                                                                  ($000's)
        Double Play , Inc.
                                                                                                                            Indicated
           Various Historical Valuations of the Phillies                                                                      Value

           Arthur Anderson Report - October 31, 1999                                                                          $157,000

           Forbes 2000 MLB Franchise Valuation                                                                                $158,000

           Ernst & Young Report (Relied on in Fleet Valuation) -January 31, 2001
                          Arthur Anderson FMV as of - October 31, 1999                  $157,000
                          Capital Infusion into the Phillies                             $50,000                              $207,000


           January 31, 2001 Double Play purchased an additional 9.1973% for $19.1 million.
                 $19.1 million / 9.1973%=         207,670                                                                     $207,700

           Forbes March 29, 2002 MLB Franchise Valuation                                                                      $231,000

           January 31, 2001 Double Play purchased an additional 9.1773% for $19.1 million. This transaction
           represented the purchase of a minority interest in the Phillies by another minority owner at a pro-rata
           value.
                                                                                  Total Enterprise Value of the Phillies       $207,700
                                                                                Double Play's Ownership in the Philies             36%
                                                                             Total Enterprise Value of the Phillies             $74,253




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        Bradford Holdings, Inc. Share Transactions                                                            Exhibit 8a

        Bradford Holdings, Inc.

           Transactions of Bradford Holdings, Inc. Shares

           February 1, 2001 - Nancy F. Smith ("Ms. Smith")
                  Ms. Smith a minority shareholder redeemed 84 Voting Shares and 59,457 Non-Voting Shares of Common Stock in
                  BHI for $215 and $205, respectively
                                                                            Total Company          Indicated BHI Equity
                       Share Class       Share Count     Share Price $'s        Shares               Valuation ($000's)
                  Class A (Voting)                 84            $215                 1,006                             $216
                  Class B (Non-Voting)        59,457             $205               713,153                        $146,196
                                              59,541                                714,159                        $146,413


           February 1, 2001 - Susan F. Thorkelson ("Ms. Thorkelson")
                  Ms. Thorkelson a minority shareholder redeemed 84 Voting Shares and 59,457 Non-Voting Shares of Common
                  Stock in BHI for $215 and $205, respectively
                                                                            Total Company          Indicated BHI Equity
                       Share Class       Share Count     Share Price $'s        Shares               Valuation ($000's)
                  Class A (Voting)                 84            $215                 1,006                             $216
                  Class B (Non-Voting)        59,457             $205               713,153                        $146,196
                                              59,541                                714,159                        $146,413




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        Per Share Price Roll Forward                                                                                                                  Exhibit 8b

        Bradford Holdings, Inc.

           Bradford Holdings, Inc. Share Price Based on Latest Transactions

                  There were two transactions of BHI shares on February 1, 2001, where in total 119,082 shares were redeemed at $215 per Voting Share and $205
                  per Non-voting Share. If the value indicated by the 2.1.2001 transactions is rolled forward to the share count as of 2.28.2003, the price per share
                  would be $258 per Voting Share and $246 per Non-voting Share.
                                                               Total
                                       Share Price           Company                                             Total Company
                                         $'s As of          Shares as of        Indicated BHI Equity              Shares as of          Rolled Forward Price Per
                      Share Class        2.1.2001             2.1.2001            Valuation ($000's)                 2/2003                Share As of 2/2003
                  Class A (Voting)            $215                 1,006                            $216                     838                              $258
                  Class B (Non-voting)        $205               713,153                       $146,196                  594,059                              $246
                                                                 714,159                       $146,413                  594,897




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        Valuation Synthesis and Conclusion                                                             Exhibit 9a
                                                                                                              ($000's)
        BHI Holdings, Inc.
                                                               Indicated                                Weighted
                                                            Enterprise Values              Weighting      TEV

           John Middleton, Inc.
                 JMI GPCM                         $293,901
                 JMI GMAC                         $277,519
           Enterprise Value of JMI                                   $285,710

           McIntosh Inns
                 McIntosh GPCM                     $29,538
                 McIntosh GMAC                     $29,906
           Enterprise Value of McIntosh                              $29,722


           Build Up Enterprise Value of JMI and McIntosh                        $315,432     50%


           Total Enterprise Value of Bradford Holdings, Inc.
                  BHI DCF Valuation                                             $291,000     50%


           Weighted Enterprise Value of Bradford Holding, Inc. Operating Assets                           $303,216


           Plus: Non-operating Assets (Double Play, Inc.)                                                  $74,253


                  Total Enterprise Value of BHI Holdings, Inc. Operating and Non-Operating Assets         $377,469




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        Valuation Synthesis and Conclusion                                                                                       Exhibit 9b
                                                                                                                                        ($000's)
        BHI Holdings, Inc.




                           Total Enterprise Value of BHI Holdings, Inc.                                                             $377,469


                           Total Other Assets
                           Less: Interest Bearing Debt                                                                                     0
                           Plus: Normalized Cash [1]                                                                                  25,000

                           FMV 100% Equity of BHI Holdings, Inc.                                                                    $402,469

                           Less Conglomerate discount of 20%                                                                          80,494

                           FMV 100% Equity of BHI Holdings, Inc. after Conglomerate Discount                                        $321,975


                                                                 Capitalization Table
                               Share             Share           Votes/                            Voting         Adjusted
                               Class             Count            Share       Percentage          Premium        Percentage
                           Class A                      838             1          0.141%               5.0%         0.148%
                           Class B                  594,059           -           99.859%                -          99.852%
                           Total                    594,897         N/A              100%               N/A            100%



                                   Class A Shares                                                      Class B Shares

                                 0.141% Class A Ownership            $476                         99.859% Class B Ownership         $321,499
                       Less 0% Discount for Lack of Control             $0               Less 0% Discount for Lack of Control             $0
                               Class A Ownership less DLOC           $476                        Class B Ownership less DLOC        $321,499
                Less 27% Discount for Lack of Marketability          ($129)        Less 27% Discount for Lack of Marketability      ($86,805)
                              FMV of Class A Ownership               $348                       FMV of Class B Ownership            $234,694


                                                   Fair Market Value Per Share Range of Value [2]
                                                               Class A                                                             Class B
            High Scenario [3]                                     $415                                                                  $395
            2.28.2003 Transaction [4]                                $288                                                              $275
            Low Scenario [5]                                         $258                                                              $246

        Notes:
        [1] Cash balance adjusted to represent normalized operating conditions.
        [2] Represents a range of values per share we believe is reasonable and fair.
        [3] Represents a high scenario of value determined using the GPCM, GMAC, and DCF analysis including normalized cash, a
             conglomerate discount of 20%, and a DLOM of 27%
        [4] Represents the price per share
        [5] Represents a low scenario of value calculated based on the 2.1.2001 transaction adjusted for updated share counts.




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                     Damages Calculation
                     Anna Nupson 1994 Trust                                                   Exhibit 10a
                    Principal Analysis
                    Cash Proceeds from Bradford Holdings, Inc. shares redeemed [a]:

                                              Shares     Price per Share                       Total Received
                               Class A             38           $288.41                               $10,960
                               Class B         70,963           $275.00                           19,514,825
                                                                                                  19,525,785

                    Fair Market Value of Bradford Holdings, Inc. shares redeemed [b]:

                                              Shares  Pricer Per Share
                               Class A             38         $429.85                                 16,334
                               Class B         70,963         $409.35                             29,048,792
                                                                                                  29,065,126

                    Shortfall in Principal Received February 28, 2003                              9,539,342
                    Less: Capital Gains Taxes @ 23.07%                                            (2,200,726)
                                 Net Principal Shortfall                                          $7,338,616


                    Income Analysis
                    Historical Monthly Rate of Return @ 0.66%
                      Number of Months from 2/28/03 to 12/31/21                         226       10,946,279
                    Less: Investment Management & Custody Expenses @ 3.40%                          (372,173)
                    Less: Capital Gains Taxes @ 23.07%                                                   -
                    Less: Income Taxes @ 40.07%                                                   (4,386,174)
                                Net Income Shortfall                                              $6,187,931


                    Combined Principal & Income Shortfall                                         13,526,547
                    Unitrust Calculation
                     Annual 4% Distribution                                                          541,062
                     Monthly Distribution                                                             45,088
                    Lost Unitrust distributions from July 2019 though December 2021
                     Number of Months from July 2019 to December 2021                    30
                               Plaintiff's Damages - Anna Nupson 1994 Trust                       $1,352,655



                    Footnotes:
                    [a] Historical price of redeemed shares.
                    [b] Upper Bound of calculated share price per Exhibit 9b.




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                     Damages Calculation
                     Anna Nupson 2001 Sub Trust                                               Exhibit 10b
                    Principal Analysis
                    Cash Proceeds from Bradford Holdings, Inc. shares redeemed [a]:

                                              Shares     Price per Share                       Total Received
                               Class B         86,010           $275.00                           23,652,750
                                                                                                  23,652,750

                    Fair Market Value of Bradford Holdings, Inc. shares redeemed [b]:

                                              Shares  Pricer Per Share
                               Class B         86,010         $409.35                             35,208,300
                                                                                                  35,208,300

                    Shortfall in Principal Received February 28, 2003                             11,555,550
                    Less: Capital Gains Taxes @ 23.07%                                            (2,665,865)
                                 Net Principal Shortfall                                          $8,889,685

                    Income Analysis
                    Historical Monthly Rate of Return @ 0.14%
                      Number of Months from 2/28/03 to 12/31/21                         226        2,812,696
                    Less: Investment Management & Custody Expenses @ 1.90%                           (53,441)
                    Less: Capital Gains Taxes @ 23.07%                                                   -
                    Less: Income Taxes @ 40.07%                                                   (1,127,047)
                                Net Income Shortfall                                              $1,632,208

                               Plaintiff's Damages - Anna Nupson 2001 Sub Trust                   $8,889,685



                    Footnotes:
                    [a] Historical price of redeemed shares.
                    [b] Upper Bound of calculated share price per Exhibit 9b.




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        Damages Summary                                                                                                     Exhibit 10c
                                                         Pakter               Hilco Low End        Hilco Mid Point         Hilco High End
                                                         Model 1                 Model 1               Model 1                 Model 1
        Anna Nupson 1994 Trust
                Net Principal Shortfall                   $49,488,022                     $0             $3,279,235              $6,558,471
                Unitrust Shortfall                         $8,953,380                     $0               $604,429              $1,208,858
                Additional Available Funds
                 in the Income Account                    $40,045,780                     $0             $2,765,056              $5,530,112

        Anna Nupson 2001 Sub Trust
                Net Principal Shortfall                   $59,947,516                     $0             $3,972,325              $7,944,649
                Investment Income Foregone
                  due to Principal Shortfall               $9,867,776                     $0               $729,346              $1,458,693

                    Total Damages                      $168,302,474                       $0           $11,350,391            $22,700,783


                                                         Pakter               Hilco Low End        Hilco Mid Point         Hilco High End
                                                         Model 2                 Model 2               Model 2                 Model 2
        Anna Nupson 1994 Trust
                Net Principal Shortfall                  $347,413,147                     $0                      $0                     $0
                Unitrust Shortfall                        $38,173,004                     $0                      $0                     $0
                Additional Available Funds
                 in the Income Account                   $157,390,489                     $0                      $0                     $0

        Anna Nupson 2001 Sub Trust
                Net Principal Shortfall                  $271,762,351                     $0                      $0                     $0
                Investment Income Foregone
                  due to Principal Shortfall              $71,912,791                     $0                      $0                     $0
                    Total Damages                      $886,651,781                       $0                     $0                     $0


        Note: The Hilco mid point values are the average of the low end and high end values.
        Note: Plaintiff may have been able to access the additional available funds if she persudaded the trustees to distribute the funds.




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        IX.      Appendix B – Sources of Information
                In the course of its analysis, Hilco used financial and other information (1) provided by
                Company management, and (2) obtained from publicly available financial and industry
                sources Hilco believes to be reliable.

                Hilco considered the following documents when preparing this report:

           1.    BHI Historical Sales 1991-2011                 25. 2000 Howard Lawson & Co.
           2.    2001 BHI Phillies Valuation                        Valuation of Bradford Holdings,
           3.    Smart – 12-31-04 and 12-31-03                      Inc
           4.    Smart – 12-31-03 and 12-31-02                  26. 2002 Fleet Valuation
           5.    Smart – 12-31-06 and 12-31-05                  27. BHI010758_image
                 and 12-31-04                                   28. BHI011399_image
           6.    2003-01-21 John Buyout                         29. BHI011442_image
                 Counterproposal to Anna                        30. BHI011454_image
           7.    2003-01-15 John Buyout                         31. BHI037846_image
                 Counterproposal to Lucia                       32. BHI037868_image
           8.    2002-12-19 Lucia Buyout                        33. BHI037869_image
                 Proposal                                       34. BHI040329_image
           9.    E&Y – Year ended 1-31-00                       35. BHI041087_image
           10.   E&Y – Years ended 1-31-01 and                  36. BHI041773_image
                 1-31-00                                        37. BHI045445_image
           11.   E&Y – 11 month period ended 12-                38. BHI046641_image
                 31-01 and Year ended 1-31-01                   39. BHI046642_image
           12.   E&Y – Year ended 12-31-02 and                  40. BHI046643_image
                 11 month period ended 12-31-01                 41. BHI046692_image
           13.   Financial Statement for YE 12-31-              42. BHI047046_image
                 03                                             43. BHI047406_image
           14.   E&Y – two month period ended 2-                44. BHI047574_image
                 28-03 and year ended 12-31-02                  45. BHI047605_image
           15.   Nupson- M Pakter Report                        46. BHI047632_image
                 Schedules and Professional                     47. BHI047665_image
                 Profile 12-13-2021                             48. BHI047731_image
           16.   Risius Report – Bradford Holdings              49. BHI047753_image
                 Inc_                                           50. BHI047770_image
           17.   Nupson-v-Schnader – Civil Action               51. BHI048213_image
                 – Filed 12.17.18                               52. BHI048220_image
           18.   Forbes – March 29, 2002                        53. BHI048222_image
           19.   [119] Third Amended Complaint                  54. BHI048274_image
           20.   [131] Answer to Third Amended                  55. BHI048291_image
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           21.   2.4.01 BHI action by unanimous                 57. BHI048301_image
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           22.   1982 Shareholders Agreement                    59. BHI048317_image
           23.   1987 Amendment - G.W. Hunter                   60. BHI048335_image
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           66. BHI048355_image                                  117.BHICOZ018486_image
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           69. BHI048386_image                                      Rosenfield Deposition
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           71. BHI048395_image                                  121.Elizabeth Arias-CT
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           74. BHI048407_image                                  124.Ex. 11 - Investment Returns in the
           75. BHI048408_image                                      Hotel Industry (BHI040472)
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           81. BHI050651_image                                  127.Ex. 16 - 2001 Thorkelson Stock
           82. BHI050845_image                                      Purchase Agreement (BHI012219-
           83. BHI051059_image                                      BHI012226)
           84. BHI051327_image                                  128.Ex. 17 - Exhibit B from JPM
           85. BHI051531_image                                      Petition to Approve Settlement
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           90. BHI056535                                        131.JSM-HE-SH000006-JSM-HE-
           91. BHI056535_image                                      SH004116_01396_image
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           95. BHI065661_image                                      SH004116_02903_image
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           97. BHI066278_image                                      SH004116_02906_image
           98. BHI066835_image                                  135.LHW-00000808_image
           99. BHI067428_image                                  136.Rosenfield, Esq., Bruce (cond)
           100.BHICOZ000001_image                               137.Rosenfield, Esq., Bruce (full)
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           103.BHICOZ000257_image                               139.Siwicki, Robert (cond)
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           107.BHICOZ000697_image                               143.Federal Reserve Statistical
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           148.Hotels (except Casino Hotels) and                    https://www.cdc.gov/mmwr/previe
               Motels in the US September 2003                      w/mmwrhtml/mm5819a2.htm
           149.Diversification’s Effect on Firm                 151.Expert Report of Pieter Vorster
               Value                                            152.BHI Projections provided by
           150.CDC – Federal & State Cigarette                      management
               Excise Taxes – United States,                    153.Undated Fran Notes
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        X.      Appendix C – Valuation Premiums & Discounts
        X.A Valuation Premiums and Discounts in General

             The final value reached in the valuation of a closely held business may be more or less
             than the value that was calculated using the various methods of valuation that are
             available. The type and size of the discount(s) or premium(s) will vary depending on the
             starting point. The starting point will depend on which methods of valuation were used
             during the appraisal, as well as other factors, such as the sources of information used
             to derive multiples or discount rates, as well as normalization adjustments.

             Order of Application
             The minority discount is applied to the value first. However, if the value indication
             includes an investment or strategic level of value, the adjustments would be:

                  •   An adjustment for the investment or strategic value should be made to arrive at
                      the control value first;
                  •   Next adjust for the minority discount to arrive at a minority level of value; and
                  •   Then apply the discount for lack of marketability (“DLOM”).

             These discounts are multiplicative rather than additive; that is, they are to be taken in
             sequence, not added together, and taken once as shown below.




                a. Control shares in a privately held company also may be subject to some discount
                   for lack of marketability, but usually not nearly as much as minority shares.
                b. Minority and marketability discounts normally are multiplicative rather than
                   additive. That is, they are taken in sequence:
                        $10.00 Control Value
                        - 3.00Less: Minority Interest Discount (.30 x $10.00)
                        $ 7.00Marketable minority value
                        - 2.80Less Lack of Marketability Discount (.40 x $7.00)
                        $ 4.20Per share value of non-marketable minority shares
                c. Note that neither the minority/control nor the marketability issue are all-or-
                   nothing matters. Each covers a spectrum of degrees.



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        X.B Discount for Lack of Control

             It is commonly recognized and well documented that an ownership interest lacking
             control will sell at a lower price than an equivalent controlling ownership interest. When
             control is not conveyed with the sale of an ownership interest, a downward adjustment
             to the preliminary indication of value may apply. This is commonly referred to as a
             “discount for lack of control” (a.k.a. minority discount). In some instances a premium (as
             opposed to a discount) for control may be applied when valuing a controlling ownership
             interest.

             For the purpose of this report, a minority party interest being valued is, by definition, a
             minority position for the following reasons:

                  •   Lack of control;
                  •   Management cannot force sale or liquidation;
                  •   Fractional interest; and
                  •   Lack of ability to finance.

             A controlling position in a business enterprise is typically worth more on a pro-rata basis
             than a non-controlling minority position for many reasons, including the rights of
             controlling owners to do any or all of the following:

                  •   elect management/directors;
                  •   select and/or remove management;
                  •   set dividend/distribution policies;
                  •   establish compensation and benefits;
                  •   set business strategies and goals;
                  •   acquire and liquidate assets;
                  •   self-dissolve, or recapitalize the entity;
                  •   revise organizational documents;
                  •   establish or change buy-sell agreements or clauses; and
                  •   cause the entity to become publicly traded.

             A non-controlling interest holder cannot cause these actions to occur.

             Other factors such as the rights of non-controlling owners and the distribution of
             ownership can also impact the value of an ownership interest. When assessing the value
             of an ownership interest it is important to consider the following factors:

             Relative Ownership Distribution. The size of the ownership block being valued in
             relation to other blocks is important in establishing the degree of control. In a business
             enterprise that has hundreds of owners, a 20% interest can have a tremendous amount
             of control while in a business enterprise with only two owners, the owner of a 20%
             interest may have no control. If there are two owners, each holding 50%, neither has
             absolute control, but both have the ability to block any decision requiring a majority vote.

             Swing Vote Characteristics. The existence of “swing vote” characteristics can
             significantly impact the value of a particular ownership interest. For instance, in a
             situation where a business enterprise has only three owners, two of them owning 49%
             each and the third owning 2%, the 2% owner can effectively exert significant control by
             casting the “swing vote.”

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             Supermajority Statutes. Many states require a supermajority vote, usually 66.67%,
             before certain actions, such as a merger, can take place. In situations requiring a
             supermajority, a single owner with only a 34% interest is able to “block” the actions of
             the majority owner(s).

             Minority Dissolution Statutes. Some states permit minority interests to sue for
             dissolution. The specific applicable circumstances and size of the interest varies by
             state.

             Organizational Documents. The rights and restrictions of owners contained in the
             articles of incorporation, bylaws, and organizational agreements can vary greatly from
             entity to entity. Such rights and restrictions can affect the ability to control or influence
             an entity in innumerable ways. The rights and restrictions that are most commonly
             addressed in organizational documents involve voting rights such as:

             Nonvoting Interest. A holder of a nonvoting interest has little influence over the affairs
             of a business enterprise. If the holder cannot vote for board members or any other matter
             that requires a vote of the owners, such a holder has no control and little or no influence
             over the company, even if such owner has 2001 BHI Transactions of the outstanding
             ownership interest.

             Cumulative Voting. Cumulative voting is a system whereby owners are allowed votes
             in proportion to their ownership percentage. The effect of cumulative voting can be
             illustrated by considering a vote of owners to elect directors. Under cumulative voting, a
             20% owner can elect 20% of the board members. In situations where cumulative voting
             is not present, a 51% owner can elect all of the board members and deny board
             representation to all others. In some states, cumulative voting is mandated by statute.

             Contractual Agreements. Certain contractual arrangements may also restrict control.
             Ownership agreements may preclude owners from exerting certain rights. Additionally,
             owners may forfeit, by contract, the right to do certain things, such as obtaining additional
             debt.

             David W. Simpson illustrated the relationship between ownership rights and ownership
             distribution in an article published in the Business Valuation Review (see exhibit below).
             The table illustrates that influence and control increases by degrees, and that the impact
             of control or lack thereof must be analyzed in such manner.




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                                                                                                                                                    Least
                        100% Ownership                                                                                                             Impaired
                        Ability to liquidate, merge, or restructure the entity
                        Inability to liquidate, merge, or restructure the entity
                        Control over the Board of Directors and/or management
                          Cumulative voting without control over the Board of Directors
                                   Fragmented remainder
                                   Concentrated remainder

                        Ability to suppress merger, liquidation, etc.
                          Cumulating voting with the ability to affect the Board of Directors and/or management
                                    Fragmented remainder
                                    Concentrated remainder
                          Inability to affect the Board of Directors and/or management
                                    Fragmented remainder
                                    Concentrated remainder
                        Inability to suppress merger, liquidation, etc.
                          Cumulating voting with the ability to affect the Board of Directors and/or management
                                    Fragmented remainder
                                    Concentrated remainder
                          Inability to affect the Board of Directors and/or management
                                    Fragmented remainder
                                    Concentrated remainder                                                                                           Most
                                                                                                                                                   Impaired

                      Source: David W. Simpson, "Minority Interest and Marketability Discounts: A Perspective: Part I," Business Valuation Review
                      (March 1991).

                      Note: The above assumes the ability of an owner to vote for board members or managers. The inability to do so may cause the value of
                      ownership interests greater the 50% to be similar in value (on a pro-rata basis) to ownership interest less than 50% that can vote.


             Quantifying Adjustments for Control
             Diverse methods exist to estimate and quantify the impact of marketability on the value
             of a privately held business enterprise. These methods include studies of empirical data
             and market return comparisons. We will discuss each of these and their applicability to
             KCP. Studies analyzing lack of control include transaction control premium studies and
             voting/nonvoting stock studies.

             FactSet MergerStat/BVR Control Premium Study
             This control premium study analyzes controlling interest transactions. These are
             transaction where the acquirer gains at least a 50.01% ownership interest in the target
             company. To calculate the implied minority discount, the control premium is converted
             by using the formula: premium/(1+premium). The median minority discount, as
             calculated on a yearly basis over the last 10 years, is 24.1%, and the average minority
             discount is 23.5%.

             In 1996, Z. Christopher Mercer conducted a study analyzing the overstatement of control
             premiums in the FactSet MergerStat/BVR Control Premium Study. After analyzing the
             data to account for outliers in the data, including premiums that were less than 0%, he
             concluded that the median minority discount was overstated by between 5-21% and the
             average by 19-63%.

             Voting/Nonvoting Stock Price Differential Studies
             Some publicly listed companies offer dual class structures where different share classes
             have different voting rights. There have been a number of studies analyzing the price
             differentials between voting shares and nonvoting shares. Of nine studies, the average
             discount for a nonvoting share was 5.1% and the median discount was 5.0%.

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                There has also been a series of court cases involving price differentials between voting
                and nonvoting shares. In the group of court cases, the average nonvoting share discount
                was 3.6% and the median discount was 4.0%.

                A minority discount would be higher than the price differentials between voting and
                nonvoting shares because even if an investor owns voting shares, it does not necessarily
                mean that the investor owns enough of the company to exert influence over the
                company’s decisions.

                Based on our review and analysis of the operating agreement, a study of the relevant
                facts, and circumstances from the cases noted above, we believe a 20% minority interest
                discount is appropriate for the Class A shares and a 10% discount is appropriate for the
                Class B shares. The Class B shares receive a lower discount because they have 10
                times the voting power as Class A shares.

                The minority interest holder cannot, on his or her own accord, conduct and make
                management decisions in relation to operations of the subject Company. They do not
                individually have the power to bind the Company contractually or in any other manner.
                They also have limited personal liability for Company obligations.

        X.C Discount for Lack of Marketability

                Previously, we concluded that the standard of value applicable to the Company is the
                FMV Standard, which implies marketability.

                An ownership interest that can be sold easily and converted to cash is more valuable
                than an equivalent interest that cannot be sold easily. The ability to sell is called
                marketability, and the ability to convert to cash is called liquidity.

                Marketability is:

                   The capability and ease of transfer or salability of an asset, business, business
                interest, or security.49

                Closely related to marketability is liquidity. Liquidity is:

                   The ability to readily convert an asset, business, business ownership interest, or
                   security       to cash without significant loss of principal.50

                In this report we will consider marketability and liquidity in combination, and will refer to
                them in aggregate as “marketability,” unless otherwise indicated.

                When an ownership interest lacks certain elements of marketability an adjustment from
                the preliminary indication of value may be applicable. This is commonly referred to as a
                discount for lack of marketability.

                The standard for marketability is publicly traded stocks that enjoy significant trading
                volume on a major stock exchange. Owners of these stocks can know the value of their


        49   International Glossary of Business Valuation Terms.
        50   Ibid.

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             interests on a minute-by-minute basis, and can buy or sell these stocks at a moment's
             notice with the proceeds (net of fees) delivered in a matter of days.

             A privately held business enterprise does not enjoy such marketability. Liquidating a
             position in a privately held entity is more costly and time consuming. Fees may need to
             be paid to a business broker and other marketing costs may be incurred. Time is required
             to find a buyer, negotiate a price, and draw up the necessary legal documents. In many
             cases the purchase price is paid over a period of years.

             In some cases, more onerous restrictions are placed on the ownership of privately held
             enterprises through by-laws or shareholder agreements. These can include rights of first
             refusal, giving existing owners the right to purchase an ownership interest before it is
             sold to an outside party, and in some cases, an outright ban on the transferability. For
             these reasons, the marketability of a Subject Interest is important to estimating its value.

             Factors Impacting Marketability
             The following is a list of several factors that can impact the marketability of an equity
             ownership interest in a business enterprise. Many of these factors were set forth in the
             Mandelbaum Tax Court decision. In 1995, the Tax Court issued a decision on the Estate
             of Mandelbaum (T.C. Memo 1995-255, June 12, 1995). The Mandelbaum court case
             considered various studies on the lack of marketability as benchmarks and adjusted the
             benchmark discounts for several factors affecting marketability. We have presented
             each of the Mandelbaum factors, as well as other factors, in order the analyze the
             marketability of the Subject Interest.

             Mandelbaum Factors:

                  •   Financial Statement Analysis
                  •   Divided Policy
                  •   Nature of the Company, its History, Position in the Industry, and Economic
                      Outlook
                  •   Company Management
                  •   Amount of control in the transferred shares
                  •   Restrictions on transferability of stock
                  •   Holding period for stock
                  •   Company’s redemption policy
                  •   Costs associated with a public offering

             Listing Requirements. Although not specifically mentioned in Mandlebaum, the
             requirement imposed by stock exchanges can impact marketability. Stock exchanges
             require minimum capitalization, corporate governance requirements, independent
             directors, audit committees, and other requirements, of the entities listed on such
             exchanges. These requirements can serve to lower the risk of an investment in entities
             traded on stock exchanges. KCP has no such requirements. This factor would tend to
             decrease the marketability of the Subject Interest.

             Access to Information. Although not specifically mentioned in Mandlebaum, investors
             in restricted stocks of SEC reporting companies can access vast amounts of information
             about the issuing entity through required SEC filing. An investor in KCP does not have
             the same level of access to information. This factor would tend to decrease the
             marketability of the Subject Interest.

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             Based on these facts, we believe the marketability of the Subject Interest is impaired
             relative to a highly marketable investment such as a publicly traded stock, and that an
             disinterested, third party investor would require a discount to the purchase price to be
             enticed to invest in the Subject Interest.

             Quantifying Adjustments for Marketability
             Diverse methods exist to estimate and quantify the impact of marketability on the value
             of a privately held business enterprise. These methods include studies of empirical data,
             market return comparisons, and computational methods. We will discuss each of these
             and their applicability to KCP.

             Studies of Empirical Data
             Studies of empirical data measuring adjustments for marketability include studies of
             restricted stocks and studies of pre-IPO transactions. The restricted stock studies are
             not presented because KCP shares are not restricted, and there is no visible market for
             them.

             Initial Public Offering Method
             There are several studies that estimate the discount for lack of marketability by
             comparing transactions involving privately held shares, and the trading price of shares
             in the same company after they have undergone an IPO (initial public offering). After the
             IPO, shares in the company became freely traded, and the difference in the trading price
             and the price paid before the IPO is to represent the value investors place on
             marketability.

             The SEC requires companies undergoing an IPO to disclose the terms of recent insider
             transactions in the prospectus. This enables a comparison of prices before and after
             “marketability” being achieved via the IPO. For example, if a shareholder disposes of
             company stock at $6.00 per share and the stock is subsequently brought public at
             $10.00 per share, it suggests an adjustment for marketability of 40%.

             Emory Studies. John Emory, ASA, examined the transaction values of privately held
             company stock (not freely traded) prior to its initial public offering and compared them
             with prices paid for the shares when the company’s stock was taken public.

             In Mr. Emory’s studies, pre-IPO transactions are limited to the five-month period
             preceding the IPO, implying that most buyers and sellers are aware of the impending
             IPO and the potential marketability of the stock. In eight separate studies conducted over
             18-month periods since 1980, Mr. Emory examined 310 companies and found a mean
             average discount of 46% between the pre-IPO trades and the actual IPO price.

             Reflecting on his work, Emory stated:

                  •   “The final question to be answered is that if these kinds of discounts are
                      appropriate for promising situations where marketability is probable, but not a
                      certainty, how much greater should discounts be for the more typical company’s
                      stock that has no marketability, little if any chance of ever becoming marketable,
                      and is in a neutral to unpromising situation?” and
                  •   “In summary, the size of the discount for lack of marketability depends on the
                      individual situation. While there is not one discount for lack of marketability
                      applicable at all times to all situations, it is apparent that the lack of marketability


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                           is one of the most important components of value, and the public marketplace
                           emphasizes this point.”

                Willamette Management Associates Studies. Willamette Management Associates
                has performed studies of pre-IPO transactions occurring from 1975 through 2000. They
                specifically looked at transactions occurring from one to 36 months prior to the IPO, and
                made adjustments to the data to account for differences in market conditions between
                the date of the transaction and the date of the IPO. These studies found median implied
                discounts ranging from a low of 27.7% in the 1999 study, to a high of 73.1% in the 1984
                study. The average of the medians was approximately 48%.

                Hitchner Studies. James R. Hitchner and Katherine E. Morris performed further
                analysis on the Emory Studies by separating the transactions into those occurring five
                months, four months and three months prior to the IPO. Generally, their analysis found
                that discounts decreased for transactions occurring closer to the date of the IPO.

                Valuation Advisors Studies. Valuation Advisors, LLC has compiled a searchable
                database of nearly 3,000 pre-IPO transactions occurring from 1999 through 2004. This
                database separates the data into three-month increments for the year prior to the IPO
                and then groups together transactions occurring between one and two years prior to the
                IPO. These studies also found that the closer the IPO date to the transaction, the smaller
                the discount. The median discounts ranged from 28% for transactions occurring between
                zero and three months prior to the IPO, to 72.2% for transactions occurring between one
                and two years prior to the IPO.

                There are several criticisms of the restricted stock and IPO studies. Perhaps the criticism
                most relevant in this case is that blind reliance on empirical studies may be over
                simplistic and does not adequately consider the unique facts and circumstances of a
                specific entity. Despite this criticism, we believe these empirical studies provide valuable
                guidance as to the general range of discounts that may be applicable, as well as
                empirical evidence that as the length of the holding period before a liquidity event
                increases, the magnitude of the discount should also increase. Further, the more
                detailed data provided in the FMV studies help target their data to parameters specific
                to the Subject Interest.

                Contentions that Restricted Stock Studies are Flawed 51
                Dr. Mukesh Bajaj points out that the restricted stock studies are flawed for the following
                reasons:

                      •    Private placements of registered shares, shares that are fully marketable, are
                           often made at sizeable discounts;
                      •    The restricted stock discount can result from factors other than lack of
                           marketability (e.g., discounts to key individuals who perform unique and
                           valuable service and advice to the Company); the discount could represent
                           compensation to the investor; and
                      •    Studies have indicated that discounts in restricted offerings versus discounts in
                           registered offerings were approximately 16% higher from 1990 through 1995.
                           Since some of the discounts in both of these offerings may be attributable to



        51   Bajaj M, et al., “Firm Value and Marketability Discount,” Journal of Corporation Law, Vol. 27, No. 1

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                           compensation, the remaining difference is a more appropriate measure of the
                           marketability discount.

                Dr. Bajaj also contends that the IPO studies are flawed for the following reasons: 52

                      •    The size of the marketability discounts implies unrealistically high return
                           expectations;
                      •    Transactions in the IPO studies again reflect compensation to company
                           insiders;
                      •    The investment in pre-IPO shares also reflects the discount for the possible
                           failure of the business enterprise. This seems to contradict the first point,
                           because added risk of failure may require a higher return expectation of
                           something in between, enough to compensate for the taking the added risk; and
                      •    The Emory study’s data errs in the treatment of the granting of stock options in
                           a similar way to actual transactions. Other omissions of other transactions in
                           pre-IPO shares of discounts of less than 13%, Dr. Bajaj contends that the
                           results of the studies are unreliable once the biases are known.

                Computational Methods
                There are various computational methods to estimate an applicable adjustment for lack
                of marketability. We have considered the Longstaff Study, which falls under option
                theory, in our analysis.

                Option Theory
                A tactic used by investors to protect the value of an appreciated security is to purchase
                a put option. A put option gives the holder the right to sell a security at a predetermined
                price. If the market value of the security declines, the put allows the investor to sell it at
                the higher option price, thus protecting the investor from the decline in value. The holder
                of a non-marketable security runs the risk of declining value while he/she is waiting for
                a marketability event. Based on option theory, he/she would require a discount to the
                price equal to the cost of purchasing a put option. The two primary methods for
                measuring adjustments for lack of marketability under option theory are the Longstaff
                study and the Black- Scholes model.

                Longstaff Study. Francis A. Longstaff, professor of finance at UCLA, argues that a
                “lookback” option measures the upper bound of adjustments for lack of marketability. A
                lookback option is a nonexistent, hypothetical option that would allow the holder at the
                end of the option term, to retroactively look back in time and select the optimal date on
                which to exercise the option. This would provide the holder of the option the maximum
                benefit, and thus it is used to measure the upper limit to an adjustment for lack of
                marketability.
                As with most option pricing models, the Longstaff Study measures the value of an option
                as a function of, among other things, the holding period, and the price volatility of the
                underlying stock. The results of the Longstaff Study are presented in the accompanying
                table. This table presents a matrix of results from the Longstaff Study for different holding
                periods and different price volatilities (see exhibit below).




        52   Bajaj M, et al., “Firm Value and Marketability Discount,” Journal of Corporation Law, Vol. 27, No. 1

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                                                                          Price Volatility
                          Holding Period                           10%             20%                 30%

                          30 days                                2.32%            4.69%             7.10%
                          60 days                                3.30%            6.68%            10.15%
                          90 days                                4.05%            8.23%            12.54%
                          180 days                               5.77%           11.79%            18.08%
                          1 year                                 8.23%           16.98%            26.28%
                          2 years                               11.79%           24.64%            38.61%
                          5 years                               19.13%           40.98%            65.77%

                          The above matrix presents adjustments for lack of marketability, varied by
                          holding period and price volatility.

             Size of DLOM Applied to Subject Company
             From the above discussion, we have observed that the range for DLOM is from 10%
             (difference in discount from registered private placements and unregistered placements)
             to 43% to 44% (mean and median from the IPO studies). Current valuation theory uses
             the factors from the case and studies from Dr. Bajaj as the Industry standard for
             application of DLOM.




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